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                     Exhibit 12 Part 13
        Part 4 of Attachment L to the Allocation
      Recommendation Report (ARR2295-ARR2391)

                    United States’ Motion to Enter Consent Decree,
        United States v. Alden Leeds, Inc. et al., Civil Action No. 22-7326 (D.N.J.)
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 2 of 98 PageID: 7122
Allocation Facility Cmass Calculation
Drum Service of Newark Inc.                                                                                   120 Lister Avenue                                  Newark        NJ          07105
  Constituent Of   Overland,    Dmass      PrePVSC     Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)      Fate &    Overland,      C%      PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                   Transport    Fate &                                                                    C%                                    Cmass
                       C%      Transport
     Copper         100.00%        -        100.00%      -           0.00%             170.10          100.00%                  -                    0      1.018817E-2        0
      Lead         100.00%         -        100.00%      -           0.00%              38.54          100.00%                  -                    0      1.018817E-2        0
     Mercury       100.00%         -        100.00%      -           0.00%              0.43           100.00%                  -                    0      1.018817E-2        0
      HPAHs        100.00%         -        100.00%      -           0.00%             136.76          100.00%                  -                    0      1.018817E-2        0
      LPAHs        100.00%         -        100.00%      -           0.00%              91.17          100.00%                  -                    0      1.018817E-2        0
      PCBs         100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
       DDx         100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
     Dieldrin      100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
  Dioxins_Furans   100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                         ARR2295
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 3 of 98 PageID: 7123
Allocation Facility COC Base Scores - Protocol Calculation
Drum Service of Newark Inc.                                                                                   120 Lister Avenue                             Newark   NJ     07105
  Constituent Of   Relative   Total Mass      COC Historic   COC Relative          COC Base
  Concern (COC)      Risk      (Tmass)          CMass        Contribution            Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00         0                0                    0
      Lead           0.01     3,200,000.00         0                0                    0
     Mercury         0.95      42,000.00           0                0                    0
      HPAHs          0.05     240,000.00           0                0                    0
      LPAHs          0.01     170,000.00           0                0                    0
      PCBs          12.87      26,000.00           0                0                    0
       DDx           1.37      27,000.00           0                0                    0
     Dieldrin        0.13       390.00             0                0                    0
  Dioxins_Furans    83.92        38.00             0                0                    0




                                                                                                                                                                          ARR2296
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 4 of 98 PageID: 7124
Allocation Facility COC Base Scores - Alternative Calulcation
Drum Service of Newark Inc.                                                                                     120 Lister Avenue                                          Newark     NJ     07105
  Constituent Of   Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00      276,960.25            2,097,178.28                   0                   0                    0                 0             0
      Lead           0.01     3,200,000.00      288,577.67            3,197,059.92                   0                   0                    0                 0             0
     Mercury         0.95      42,000.00          4,322.53              41,955.96                    0                   0                    0                 0             0
      HPAHs          0.05     240,000.00        4,346,388.50            195,718.24                   0                   0                    0                 0             0
      LPAHs          0.01     170,000.00        3,012,835.14            139,304.72                   0                   0                    0                 0             0
      PCBs          12.87      26,000.00         20,066.54              25,795.56                    0                   0                    0                 0             0
       DDx           1.37      27,000.00          2,516.93              26,974.36                    0                   0                    0                 0             0
     Dieldrin        0.13       390.00              1.27                  389.99                     0                   0                    0                 0             0
  Dioxins_Furans    83.92        38.00            3,729.82                  0.00                     0                   0                    0                 0             0




                                                                                                                                                                                           ARR2297
                                                      For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                       Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 5 of 98 PageID: 7125
Facility Bypass Information
 Drum Service of Newark Inc.                          120 Lister Avenue                                               Newark                             NJ                07105

Item         Bypass Name       Bypass Type   Time %        Flow %                                                                         Bypass Notes
  1           Newark Bay         Bypass       0.00%         0.00%                                                         Did not discharge waste into the Passaic river




                                                                                                                                                                                   ARR2298
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
               Case 2:22-cv-07326-MCA-LDW Document 289-12
ADR CONFIDENTIAL COMMUNICATION                      OU2 Facility
                                                                 Filed 01/31/24 Page 6 of 98 PageID: 7126
                                                                                                        FINAL 12/28/2020




 Discharge Calcs                        POTW Discharge Information                             COMMENTS/NOTES
                                        gal discharged per day/week/month                      PVSC Permit
                                        # hours/per day discharged                             No COC or Discharge Information
                                        #days/week discharged                                  Drum Refurbishing, so consider similar to Truck Washwater
                                        #weeks/yr discharged
                              3,225,100 calc gal/yr discharge

                                    1997 Yr Ops started
                                    2004 Yr Ops ceased
                                      7 calc #yrs facility operated

 Copper (Cu)
                                      7   #yrs facility discharged                             Estimate based on Quality Carriers
                                   1.99   calc mg/L COC discharged
                                  3.785   L per gallon (Merck Index)
                               0.000001   kg per mg (Merck Index)
                                 170.10   calc kg COC discharged
 Lead (Pb)
                                      7   #yrs facility discharged                             Estimate based on Quality Carriers
                                   0.45   calc mg/L COC discharged
                                  3.785   L per gallon (Merck Index)
                               0.000001   kg per mg (Merck Index)
                                  38.54   calc kg COC discharged
 Mercury (Hg)
                                      7   #yrs facility discharged                             Estimate based on Quality Carriers
                                 0.0050   calc mg/L COC discharged
                                  3.785   L per gallon (Merck Index)
                               0.000001   kg per mg (Merck Index)
                                   0.43   calc kg COC discharged
 HPAHs
                                       7 #yrs facility discharged
                                1,067.00 calc mg/L O&G                                         Estimate based on Quality Carriers
                                    2.5% % TOC that is considered O&G
                                     10% % O&G that is considered PAHs
                                     60% % PAHs considered as HPAHs
                                    1.60 calc mg/L HPAHs
                                   3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                  136.76 calc kg COC discharged
 LPAHs
                                       7 #yrs facility discharged
                                1,067.00 calc mg/L O&G                                         Estimate based on Quality Carriers
                                    2.5% % TOC that is considered O&G
                                     10% % O&G that is considered PAHs
                                     40% % PAHs considered as LPAHs
                                       1 calc mg/L LPAHs
                                   3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                   91.17 calc kg COC discharged
 PCBs
                                      -19 #yrs facility discharged within PCBs Timeline
                                    -     calc mg/L COC discharged
                                  3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                -         calc kg COC discharged
 DDx
                                      -24 #yrs facility discharged within DDx Timeline
                                    -     calc mg/L COC discharged
                                  3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                    -     calc kg COC discharged
 Dieldrin
                                      -9 #yrs facility discharged within Dieldrin Timeline
                                    -    calc mg/L COC discharged
                                  3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                    -    calc kg COC discharged
 Dioxins/Furans
                                       7 #yrs facility discharged
                                    -     calc mg/L COC discharged
                                  3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                    -     calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                        8 #yrs facility discharged within 2,4-D Timeline
                                    -     calc mg/L COC discharged
                                  3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                    -     calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                      -11 #yrs facility discharged within 2,4,5-T Timeline
                                    -     calc mg/L COC discharged
                                  3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                    -     calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                      -21 #yrs facility discharged within 2,4,6-TCP Timeline
                                    -     calc mg/L COC discharged
                                  3.785 L per gallon (Merck Index)
                               0.000001 kg per mg (Merck Index)
                                    -     calc kg COC discharged



 Summary DMassCOC for POTW:
                                 170.10   kg Copper
                                  38.54   kg Lead
                                   0.43   kg Mercury
                                 136.76   kg HPAHs
                                  91.17   kg LPAHs
                                    -     kg PCBs
                                    -     kg DDx




Drum Services of Newark DMass formatted for report                                                                  1                                       ARR2299   POTW_PVSC
                                                           For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
             Case 2:22-cv-07326-MCA-LDW Document 289-12
ADR CONFIDENTIAL COMMUNICATION                    OU2 Facility
                                                               Filed 01/31/24 Page 7 of 98 PageID: 7127
                                                                                                      FINAL 12/28/2020




                                  -    kg Dieldrin
                                  -    kg Dioxins/Furans




Drum Services of Newark DMass formatted for report                                                      2                                                 ARR2300   POTW_PVSC
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                          Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 8 of 98 PageID: 7128
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
Drum Service of Newark Inc.
120 Lister Avenue                       Newark        NJ                   07105
 Facility BS   CUF         CUF_Category                                                     CUF_NOTES                                                       COF                      COF_NOTES                          Facillty
                                                                                                                                                                                                                      Adjusted BS
     0         5.0%   Occasional Noncompliance    Drum Services is listed as a company that was issued fines from PVSC during the August 1, 1997        20.0% 20% Failed to participate in conduct of allocation as        0
                                                  to July 31, 1998; August 1, 1998 to July 31, 1999 and the August 1, 2000 to July 31, 2001 time                  offered by EPA
                                                  periods (PAS-00017752; PAS-00021364). No additional information was provided in the files
                                                  reviewed.

                                                                                                                                                                                                       AP_ABS             0




                                                                                                                                                                                                               ARR2301
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                          Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 9 of 98 PageID: 7129
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
Drum Service of Newark Inc.
120 Lister Avenue                       Newark        NJ                   07105
 Facility BS   CUF         CUF_Category                                                     CUF_NOTES                                                       COF                      COF_NOTES                          Facillty
                                                                                                                                                                                                                      Adjusted BS
     0         5.0%   Occasional Noncompliance    Drum Services is listed as a company that was issued fines from PVSC during the August 1, 1997        20.0% 20% Failed to participate in conduct of allocation as        0
                                                  to July 31, 1998; August 1, 1998 to July 31, 1999 and the August 1, 2000 to July 31, 2001 time                  offered by EPA
                                                  periods (PAS-00017752; PAS-00021364). No additional information was provided in the files
                                                  reviewed.

                                                                                                                                                                                                       AP_ABS             0




                                                                                                                                                                                                               ARR2302
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 10 of 98 PageID: 7130
Allocation Facility Cmass Calculation
Elan Chemical Co., Inc.                                                                                       268 Doremus Avenue                                 Newark        NJ          07105
  Constituent Of   Overland,    Dmass       PrePVSC    Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)      Fate &    Overland,       C%     PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                   Transport    Fate &                                                                    C%                                    Cmass
                       C%      Transport
      Copper        100.00%        -        100.00%      -           0.00%            2,284.50         100.00%                  -                    0      1.018817E-2        0
       Lead        100.00%         -        100.00%      -           0.00%             340.83          100.00%                  -                    0      1.018817E-2        0
     Mercury       100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
      HPAHs        100.00%       6.59       100.00%      -           0.00%             736.93          100.00%                  -                  6.59     1.018817E-2       0.07
      LPAHs        100.00%       1.39       100.00%      -           0.00%             491.29          100.00%                  -                  1.39     1.018817E-2       0.01
       PCBs        100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
       DDx         100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
     Dieldrin      100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
  Dioxins_Furans   100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                         ARR2303
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 11 of 98 PageID: 7131
Allocation Facility COC Base Scores - Protocol Calculation
Elan Chemical Co., Inc.                                                                                        268 Doremus Avenue                            Newark   NJ     07105
  Constituent Of   Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)      Risk      (Tmass)           CMass        Contribution            Score
                   Number
                    (RRN)
      Copper         0.69     2,100,000.00          0                0                    0
       Lead          0.01     3,200,000.00          0                0                    0
     Mercury         0.95      42,000.00            0                0                    0
      HPAHs          0.05     240,000.00           0.07         2.798E-7             1.399E-8
      LPAHs          0.01     170,000.00           0.01         8.330E-8            8.330E-10
       PCBs          12.87     26,000.00            0                0                    0
       DDx           1.37      27,000.00            0                0                    0
     Dieldrin        0.13       390.00              0                0                    0
  Dioxins_Furans     83.92       38.00              0                0                    0




                                                                                                                                                                           ARR2304
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 12 of 98 PageID: 7132
Allocation Facility COC Base Scores - Alternative Calulcation
Elan Chemical Co., Inc.                                                                                         268 Doremus Avenue                                         Newark     NJ     07105
  Constituent Of   Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
      Copper         0.69     2,100,000.00       276,960.25           2,097,178.28                   0                   0                    0                  0            0
       Lead          0.01     3,200,000.00       288,577.67           3,197,059.92                   0                   0                    0                  0            0
     Mercury         0.95      42,000.00          4,322.53              41,955.96                    0                   0                    0                  0            0
      HPAHs          0.05     240,000.00        4,346,388.50            195,718.24              1.516E-6               0.07                 0.3               1.516E-6     7.581E-8
      LPAHs          0.01     170,000.00        3,012,835.14            139,304.72              4.614E-7               0.01                 0.06              4.614E-7     4.614E-9
       PCBs          12.87     26,000.00         20,066.54              25,795.56                    0                   0                    0                  0            0
       DDx           1.37      27,000.00          2,516.93              26,974.36                    0                   0                    0                  0            0
     Dieldrin        0.13       390.00              1.27                  389.99                     0                   0                    0                  0            0
  Dioxins_Furans     83.92       38.00            3,729.82                  0.00                     0                   0                    0                  0            0




                                                                                                                                                                                           ARR2305
                                                   For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                   Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 13 of 98 PageID: 7133
Facility Bypass Information
 Elan Chemical Co., Inc.                           268 Doremus Avenue                                              Newark                             NJ                07105

Item          Bypass Name   Bypass Type   Time %        Flow %                                                                         Bypass Notes
  1            Newark Bay     Bypass       0.00%         0.00%                                                         Did not discharge waste into the Passaic river




                                                                                                                                                                                ARR2306
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
             Case 2:22-cv-07326-MCA-LDW Document 289-12
ADR CONFIDENTIAL COMMUNICATION                     OU2 Facility
                                                                Filed 01/31/24 Page 14 of 98 PageID: 7134
                                                                                                       FINAL 12/28/2020




 Discharge Calcs                                 POTW Discharge Information                                      COMMENTS/NOTES
                                          72,562 gal discharged per day PAS00014428, PAS00014536, PAS00061069,   1975 sampling for PVSC Sewer App Permit, 1979 PVSC Sewer App Permit, Phase I Environmental Assessment, 1995
                                                 PAS00059971                                                     Permit
                                              24 # hours/per day discharged
                                               5 #days/week discharged                                           Runoff from facility is treated in onsite effluent sump, which is part of onsite wastewater system.
                                              52 #weeks/yr discharged                                            NJPDES permit is for operation of onsite treatment system.
                                      18,866,156 calc gal/yr discharge                                           All drains and outside storm water connect to effluent sump pit to PVSC.

                                            1977 Yr Ops started
                                            2020 Yr Ops ceased
                                             43 calc #yrs facility operated

 Copper (Cu)
                                              43   #yrs facility discharged
                                           0.744   calc mg/L COC discharged PAS00014428, PAS00014536             1975 sampling for PVSC Sewer App Permit - - permit discharge limits not used
                                           3.785   L per gallon (Merck Index)
                                       0.000001    kg per mg (Merck Index)
                                        2,284.50   calc kg COC discharged
 Lead (Pb)
                                         43.000    #yrs facility discharged
                                          0.111    calc mg/L COC discharged PAS00014428, PAS00014536             1975 sampling for PVSC Sewer App Permit - - permit discharge limits not used
                                          3.785    L per gallon (Merck Index)
                                       0.000001    kg per mg (Merck Index)
                                            341    calc kg COC discharged
 Mercury (Hg)
                                              43   #yrs facility discharged
                                            -      calc mg/L COC discharged PAS00014428                          1975 sampling for PVSC Sewer App Permit - - permit discharge limits not used
                                          3.785    L per gallon (Merck Index)
                                       0.000001    kg per mg (Merck Index)
                                            -      calc kg COC discharged
 HPAHs
                                             43 #yrs facility discharged
                                           4.00 calc mg/L COC discharged PAS00014428                             calcs used to convert mg/kg O&G to HPAHs; remove if not needed
                                            10% % O&G that is considered PAHs                                    1975 sampling for PVSC Sewer App Permit - - permit discharge limits not used
                                            60% % PAHs considered as HPAHs
                                           0.24 calc mg/L HPAHs
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                         736.93 calc kg COC discharged
 LPAHs
                                             43 #yrs facility discharged
                                           4.00 calc mg/L COC discharged PAS00014428                             calcs used to convert mg/kg O&G to LPAHs; remove if not needed
                                            10% % O&G that is considered PAHs                                    1975 sampling for PVSC Sewer App Permit - - permit discharge limits not used
                                            40% % PAHs considered as LPAHs
                                           0.16 calc mg/L LPAHs
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                         491.29 calc kg COC discharged
 PCBs
                                               1 #yrs facility discharged within PCBs Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                        -        calc kg COC discharged
 DDx
                                              -4 #yrs facility discharged within DDx Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dieldrin
                                              11 #yrs facility discharged within Dieldrin Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxins/Furans
                                              43   #yrs facility discharged
                                            -      calc mg/L COC discharged
                                          3.785    L per gallon (Merck Index)
                                       0.000001    kg per mg (Merck Index)
                                            -      calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                              44 #yrs facility discharged within 2,4-D Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                               9 #yrs facility discharged within 2,4,5-T Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                              -1 #yrs facility discharged within 2,4,6-TCP Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged



 Summary DMassCOC for POTW:
                                        2,284.50   kg Copper
                                          340.83   kg Lead
                                             -     kg Mercury
                                          736.93   kg HPAHs
                                          491.29   kg LPAHs
                                             -     kg PCBs
                                             -     kg DDx
                                             -     kg Dieldrin




Elan Chemical Company DMass formatted for report                                                                               1                                                                                       ARR2307   POTW_PVSC
                                                       For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
           Case 2:22-cv-07326-MCA-LDW Document 289-12
ADR CONFIDENTIAL COMMUNICATION                   OU2 Facility
                                                              Filed 01/31/24 Page 15 of 98 PageID: 7135
                                                                                                     FINAL 12/28/2020




                                        -    kg Dioxins/Furans




Elan Chemical Company DMass formatted for report                                                    2                                                 ARR2308   POTW_PVSC
                                                                                                                                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                                                       Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 16 of 98 PageID: 7136




Discharge Calcs                     Direct Discharge Information                                   ASSUMPTIONS, REFERENCES                                                                 COMMENTS/NOTES
                               4.08 FEET/YEAR AVERAGE PRECIPITATION                                Long term average annual precipitation includes floods and hurricane events             Data from Rutgers University.
                                                                                                   occurring over time.

                                  4 ACRES - TOTAL SITE AREA (acres)                                FDR p 1
                                  1 ACRES - AFFECTED AREA                                          Approximately 25% buildings in 1977 aerial photo here
                                                                                                   https://njdep.maps.arcgis.com/apps/webappviewer/index.html
                           4,046.86 METERS2/ACRE

                              4,047 METERS2 (AFFECTED AREA)

                             0.0001 METERS/YEAR (ERODED SOIL THICKNESS)                            For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                                   inches/year.

                                  0 METERS3/YEAR (ERODED SOIL VOLUME)                              VOLUME/YEAR DISCHARGED TO DITCHES

                              1977 Year site operations began                                      Elan-Conn acquired the site in 1968 but current Elan Chemical Co acquired it in
                                                                                                   1977 (FDR p 1)
                              2020 Site operations continue to the present (FDR p 1) but no soil
                                   data for other soil areas

                                 43 NUMBER YEARS DISCHARGE

                                 17 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)



                              1,915 KG/M3 SOIL DENSITY                                             Fill reported as fine to medium and fine to coarse samds with gravel and residue
                                                                                                   consisting of crushed brick and cinders (PAS-00060192). Bulk density range 1346
                                                                                                   KG/M3 to 2483 KG/M3, so use average.
                                                                                                   (http://structx.com/Soil_Properties_002.html)

                             33,315 KILOGRAMS (TOTAL SOIL DISCHARGED OVER TIME)
                                                                                                   Site is located on regional historic fill (FDR p 6)
Copper (Cu)                                                                                        Copper chromite and copper powder inventoried on site since 1977 (FDR p 5; PAS-
                                                                                                   00059885 p 89 AKA PAS-00059973). Copper shot and copper chromite was used
                                                                                                   from approx 2002 to 2006 (FDR p 5)
                                 43 YEARS DISCHARGED
                                  0 MG/KG (MAX CONCENTRATION)                                      Sample S4-B (1.5-2.0 ft bgs) 2,040 mg/kg (PAP-00115569). Set to 0 since less than
                                                                                                   HF.
                           0.000001 kg per mg (Merck Index)
                                  0 KILOGRAMS DISCHARGED
Lead (Pb)                                                                                          No info on lead use (FDR p 6)
                                 43 YEARS DISCHARGED
                                  0 MG/KG (MAX CONCENTRATION)                                      Sample S4-A (0-0.5 ft bgs) 1,940 mg/kg(PAP-00115569). Set to 0 since less than
                                                                                                   HF.
                           0.000001 kg per mg (Merck Index)
                                  0 KILOGRAMS DISCHARGED
Mercury (Hg)                                                                                       No info on mercury use (FDR p 6)
                                 43 YEARS DISCHARGED                                               3.5 mg/kg
                                  0 MG/KG (MAX CONCENTRATION)                                      1.1 mg/kg Sample A-1 (1.5-2.0 ft bgs) (PAP-00115568). Set to 0 since less than HF.

                            0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
PAHs (listed in Benzo(a)pyrene                                                                                                                                                                                                    Contaminant                               Concentration      Toxic      Benzo(a)pyrene
Equivalent conversion table)                                                                                                                                                                                                                                                  (mg/kg)       Equivalency    Equivalents
                                                                                                                                                                                                                                                                                              Factor
                                 43 YEARS DISCHARGED                                                                                                                                       Sample S4-A (0-0.5 ft bgs). S4- Benzo(a)pyrene                         21.600                        1.0          21.6000
                                                                                                                                                                                           A is from outside the drum
                                                                                                                                                                                           storage area and therefore
                                                                                                                                                                                           represents background
                               25.7 MG/KG (TOTAL PAH AVERAGE CONCENTRATION)                                                                                                                contamination level (PAS-       Benzo(a)anthracene                     17.100                         0.1          1.7100
                           0.000001 kg per mg (Merck Index)                                                                                                                                00060200)                       Benzo(b)fluoranthene                   21.900                         0.1          2.1900
                                  1 KILOGRAMS DISCHARGED                                                                                                                                                                   Benzo(k)fluoranthene                   17.800                        0.01          0.1780
PAHs (others detected)                                                                             Data below the Benzo(a)pyrene Equivalent Table                                                                          Chrysene                               16.400                       0.001          0.0164
                                 43 YEARS DISCHARGED                                                                                                                                                                       Dibenz(a,h)anthracene                   0.000                         1.0          0.0000
                                 38 MG/KG (TOTAL PAH MAX CONCENTRATION)                                                                                                                                                    Indeno(1,2,3-cd)pyrene                  0.000                         0.1          0.0000
                           0.000001 kg per mg (Merck Index)                                                                                                                                                                DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                  1 KILOGRAMS DISCHARGED                                                                                                                                                                   Total Benzo(a)pyrene Equivalents =                                                  25.7




Elan FT Mass- Final.xlsx


                                                                                                                                                                                                                                                                                                                           ARR2309
                                                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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PCBs
                                 43 YEARS DISCHARGED
                                                                                                                                                     Sample S4-A (0-0.5 ft bgs) (PAS-00060200)
                                    MG/KG AVG OF REPORTED CONCENTRATIONS)                                                                            Anthracene                       7.09
                           0.000001 kg per mg (Merck Index)                                                                                          Acenaphthene                     2.56
                                  0 KILOGRAMS DISCHARGED                                                                                             Acenaphthylene                   0
DDx                                                                                                                                                  Fluorene                         0
                                  43 YEARS DISCHARGED within DDx Timeline                                                                            Naphthalene                      0
                                     MG/KG (MAX CONCENTRATION)                                                                                       Phenanthrene                     28.4
                               3.785 L per gallon (Merck Index)                                                                                      2-Methylnaphthalene              0
                           0.000001 kg per mg (Merck Index)                                                                                          SUM                              38.05
                                   0 KILOGRAMS DISCHARGED
Dieldrin
                                  43 YEARS DISCHARGED within Dieldrin Timeline
                                     MG/KG (MAX CONCENTRATION)
                               3.785 L per gallon (Merck Index)
                           0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
Dioxins/Furans                       NONE FOUND IN AVAILABLE DOCUMENTATION
                                  43 YEARS DISCHARGED
                                     MG/KG (MAX CONCENTRATION)
                           0.000001 kg per mg (Merck Index)
                                   0 calc kg COC discharged

SUMMARY CMASS ESTIMATES:
                               0.00 kg Copper
                               0.00 kg Lead
                               0.00 kg Mercury
                               0.86 kg PAHs (Benzo(a)pyrene Equivalent)
                               1.27 kg PAHs (Other)
                               0.00 kg PCBs
                               0.00 kg DDx
                               0.00 kg Dieldrin
                               0.00 kg Dioxins/Furans

                               2.12 MASS (KG) DISCHARGED FROM SURFACE SOIL




Elan FT Mass- Final.xlsx


                                                                                                                                                                                                 ARR2310
                                                                                                                                         For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Discharge Calcs                     Direct Discharge Information                       ASSUMPTIONS, REFERENCES                                                                    COMMENTS/NOTES
                               4.08 FEET/YEAR AVERAGE PRECIPITATION                    Long term average annual precipitation includes floods and hurricane events                Data from Rutgers University.
                                                                                       occurring over time.

                                  4 ACRES - TOTAL SITE AREA (acres)                    FDR p 1
                              0.367 ACRES - AFFECTED AREA                              Unpaved, gravel drum storage area is approx 100' x 160' (Fig 3, PAP-00115573).
                                                                                       16000 sf = 0.36730946 acre
                           4,046.86 METERS2/ACRE

                              1,486 METERS2 (AFFECTED AREA)

                             0.0001 METERS/YEAR (ERODED SOIL THICKNESS)                For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                       inches/year.

                                           3
                                  0 METERS /YEAR (ERODED SOIL VOLUME)                  VOLUME/YEAR DISCHARGED TO DITCHES

                              1977 Year site operations began                          Elan-Conn acquired the site in 1968 but the current Elan Chemical Co acquired it
                                                                                       in 1977 (FDR p 1)
                              1992 Year drum storage area was capped (FDR p 12; PAP-
                                   00115565)

                                 15 NUMBER YEARS DISCHARGE

                                  2 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)



                              1,915 KG/M3 SOIL DENSITY                                 Fill reported as fine to medium and fine to coarse samds with gravel and residue
                                                                                       consisting of crushed brick and cinders (PAS-00060192). Bulk density range 1346
                                                                                            3               3
                                                                                       KG/M to 2483 KG/M , so use average.
                                                                                       (http://structx.com/Soil_Properties_002.html)

                              4,269 KILOGRAMS (TOTAL SOIL DISCHARGED OVER TIME)
                                                                                       Site is located on regional historic fill (FDR p 6)
Copper (Cu)                                                                            Copper chromite and copper powder inventoried on site since 1977 (FDR p 5;
                                                                                       PAS-00059885 p 89 AKA PAS-00059973). Copper shot and copper chromite was
                                                                                       used from approx 2002 to 2006 (FDR p 5)
                                 15 YEARS DISCHARGED
                                  0 MG/KG (MAX CONCENTRATION)                          Sample S3-A (0-0.5 ft bgs) 1,120 mg/kg collected in 1991 prior to capping (PAP-
                                                                                       00115569). Set to 0 since less than HF.
                           0.000001 kg per mg (Merck Index)
                                  0 KILOGRAMS DISCHARGED
Lead (Pb)                                                                              No info on lead use (FDR p 6)
                                 15 YEARS DISCHARGED
                                  0 MG/KG (MAX CONCENTRATION)                          Sample S3-A (0-0.5 ft bgs) 1,370 mg/kg collected in 1991 prior to capping (PAP-
                                                                                       00115569). Set to 0 since less than HF.
                           0.000001 kg per mg (Merck Index)
                                  0 KILOGRAMS DISCHARGED
Mercury (Hg)                                                                           No info on mercury use (FDR p 6)
                                 15 YEARS DISCHARGED
                                  0 MG/KG (MAX CONCENTRATION)                          Sample E-1 (1.5-2.0 ft bgs) collected in 1992 prior to capping (PAP-00060199).Set
                                                                                       to 0 since less than HF.
                           0.000001 kg per mg (Merck Index)
                                  0 KILOGRAMS DISCHARGED




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                                                                                                                                                                                                                                        ARR2311
                                                                                                                                 For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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PAHs (listed in Benzo(a)pyrene                                                                                                                                                                                         Contaminant                     Concentration      Toxic      Benzo(a)pyrene
Equivalent conversion table)                                                                                                                                                                                                                             (mg/kg)       Equivalency    Equivalents
                                                                                                                                                                                                                                                                         Factor

                                  15 YEARS DISCHARGED                                                                                                                              Sample A-1 (1.5-2.0 ft bgs) Benzo(a)pyrene                      4.100               1.0               4.1000
                                                                                                                                                                            collected in 1992 prior to capping
                                                                                                                                                                                     (PAP-00060200). Highest
                                 5.7 MG/KG (TOTAL PAH AVERAGE CONCENTRATION)                                                                                                      concentrations within drum Benzo(a)anthracene                    5.150               0.1               0.5150
                           0.000001 kg per mg (Merck Index)                                                                                                                                       storage area Benzo(b)fluoranthene                8.650               0.1               0.8650
                                  0 KILOGRAMS DISCHARGED                                                                                                                                                       Benzo(k)fluoranthene                0.000              0.01               0.0000
PAHs (others detected)                                                          Data below the Benzo(a)pyrene Equivalent Table                                                                                 Chrysene                            4.480             0.001               0.0045
                                 15 YEARS DISCHARGED                                                                                                                                                           Dibenz(a,h)anthracene               0.000               1.0               0.0000
                                 28 MG/KG (TOTAL PAH MAX CONCENTRATION)                                                                                                                                        Indeno(1,2,3-cd)pyrene              2.460               0.1               0.2460
                           0.000001 kg per mg (Merck Index)                                                                                                                                                    DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                  0 KILOGRAMS DISCHARGED                                                                                                                                                       Total Benzo(a)pyrene Equivalents =                                         5.7
PCBs
                                  15 YEARS DISCHARGED                                                                                                                                                                  Sample A-1 (1.5-2.0 ft bgs) collected in 1992
                                                                                                                                                                                                                       prior to capping (PAP-00060200). Highest
                                                                                                                                                                                                                       concentrations within drum storage area
                                    MG/KG AVG OF REPORTED CONCENTRATIONS)
                           0.000001 kg per mg (Merck Index)                                                                                                                                                            Anthracene                    0.28
                                  0 KILOGRAMS DISCHARGED                                                                                                                                                               Fluoranthene                  18.2
DDx                                                                                                                                                                                                                    Phenanthrene                  10
                                 15 YEARS DISCHARGED within DDx Timeline                                                                                                                                               SUM                           28.48
                                    MG/KG (MAX CONCENTRATION)
                              3.785 L per gallon (Merck Index)
                           0.000001 kg per mg (Merck Index)
                                  0 KILOGRAMS DISCHARGED
Dieldrin
                                 15 YEARS DISCHARGED within Dieldrin Timeline
                                    MG/KG (MAX CONCENTRATION)
                              3.785 L per gallon (Merck Index)
                           0.000001 kg per mg (Merck Index)
                                  0 KILOGRAMS DISCHARGED
Dioxins/Furans                      NONE FOUND IN AVAILABLE DOCUMENTATION
                                 15 YEARS DISCHARGED
                                  0 MG/KG (MAX CONCENTRATION)
                           0.000001 kg per mg (Merck Index)
                                  0 calc kg COC discharged

SUMMARY CMASS ESTIMATES:
                                 0.00 kg Copper
                                 0.00 kg Lead
                                 0.00 kg Mercury
                                 5.73 kg PAHs (Benzo(a)pyrene Equivalent)
                                 0.12 kg PAHs (Other)
                                 0.00 kg PCBs
                                 0.00 kg DDx
                                 0.00 kg Dieldrin
                                 0.00 kg Dioxins/Furans

                                 5.85 MASS (KG) DISCHARGED FROM SURFACE SOIL




Elan FT Mass- Final.xlsx

                                                                                                                                                                                                                                                                                                      ARR2312
                                                                  For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                              Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 20 of 98 PageID: 7140
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
Elan Chemical Co., Inc.
268 Doremus Avenue                          Newark         NJ                   07105
 Facility BS   CUF             CUF_Category                                                      CUF_NOTES                                                       COF                         COF_NOTES                           Facillty
                                                                                                                                                                                                                               Adjusted BS
  1.112E-8     5.0%       Occasional Noncompliance     PVSC filed suit against Elan alleging that Elan discharged pollutants in excess of the discharge          0.0% 0% Cooperation with conduct of allocation and requests    1.167E-8
                                                       limitations of its PVSC Permit No. 20403242 (PAS-00059893, PAS-00060847 et seq.). No OU2                         for related information
                                                       COCs were alleged to be associated with these discharges (PAS-00060849-50). An inspection of
                                                       Elan by the NJDEP in December 1988 noted a drum storage area was sloped down into drainage
                                                       depressions, which flowed to the Passaic River. Oil was observed to be leaking from the drums
                                                       and evidence was found of past spills of other materials in the area. (PAS-00061334-37).

                                                                                                                                                                                                             AP_ABS             1.167E-8




                                                                                                                                                                                                                     ARR2313
                                                                  For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                              Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 21 of 98 PageID: 7141
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
Elan Chemical Co., Inc.
268 Doremus Avenue                          Newark         NJ                   07105
 Facility BS   CUF             CUF_Category                                                      CUF_NOTES                                                       COF                         COF_NOTES                           Facillty
                                                                                                                                                                                                                               Adjusted BS
  6.032E-8     5.0%       Occasional Noncompliance     PVSC filed suit against Elan alleging that Elan discharged pollutants in excess of the discharge          0.0% 0% Cooperation with conduct of allocation and requests    6.333E-8
                                                       limitations of its PVSC Permit No. 20403242 (PAS-00059893, PAS-00060847 et seq.). No OU2                         for related information
                                                       COCs were alleged to be associated with these discharges (PAS-00060849-50). An inspection of
                                                       Elan by the NJDEP in December 1988 noted a drum storage area was sloped down into drainage
                                                       depressions, which flowed to the Passaic River. Oil was observed to be leaking from the drums
                                                       and evidence was found of past spills of other materials in the area. (PAS-00061334-37).

                                                                                                                                                                                                             AP_ABS             6.333E-8




                                                                                                                                                                                                                     ARR2314
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 22 of 98 PageID: 7142
Allocation Facility Cmass Calculation
EnPro Holdings, Inc.                                                                                           900-1000 South 4th Street                           Harrison        NJ          07029
  Constituent Of   Overland,    Dmass       PrePVSC    Dmass         PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total      COC A%         COC Historic
  Concern (COC)      Fate &    Overland,       C%     PrePVSC                                          Discharge         Discharge              Pathway                         CMass
                   Transport    Fate &                                                                     C%                                    Cmass
                       C%      Transport
     Copper         100.00%        -        100.00%   1,458.70        0.00%            1,397.92         100.00%            50,705.1              52,163.83    1.018817E-2        531.45
      Lead         100.00%         -        100.00%   1,222.69        0.00%            1,171.75         100.00%            42,501.3              43,724.02    1.018817E-2        445.47
     Mercury       100.00%       9.87       100.00%       -           0.00%                 -           100.00%                  -                  9.87      1.018817E-2         0.1
      HPAHs        100.00%       5.52       100.00%   55,138.10       0.00%           52,840.68         100.00%          1,916,623.3           1,971,766.87   1.018817E-2       20,088.7
      LPAHs        100.00%       9.47       100.00%   36,772.05       0.00%           35,239.88         100.00%          1,278,211.6           1,314,993.14   1.018817E-2      13,397.38
      PCBs         100.00%       4.11       100.00%       -           0.00%                 -           100.00%                  -                  4.11      1.018817E-2         0.04
       DDx         100.00%         -        100.00%       -           0.00%                 -           100.00%                  -                    0       1.018817E-2          0
     Dieldrin      100.00%         -        100.00%       -           0.00%                 -           100.00%                  -                    0       1.018817E-2          0
  Dioxins_Furans   100.00%         -        100.00%       -           0.00%                 -           100.00%                  -                    0       1.018817E-2          0




                                                                                                                                                                                             ARR2315
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                            Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 23 of 98 PageID: 7143
Allocation Facility COC Base Scores - Protocol Calculation
EnPro Holdings, Inc.                                                                                            900-1000 South 4th Street                     Harrison   NJ     07029
  Constituent Of   Relative    Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)      Risk       (Tmass)           CMass        Contribution            Score
                   Number
                    (RRN)
     Copper          0.69      2,100,000.00        531.45        2.531E-4             1.746E-4
      Lead             0.01    3,200,000.00        445.47        1.392E-4             1.392E-6
     Mercury           0.95     42,000.00           0.1          2.394E-6             2.275E-6
      HPAHs            0.05    240,000.00         20,088.7       8.370E-2             4.185E-3
      LPAHs            0.01    170,000.00        13,397.38       7.881E-2             7.881E-4
      PCBs             12.87    26,000.00           0.04         1.611E-6             2.073E-5
       DDx             1.37     27,000.00            0                0                    0
     Dieldrin          0.13      390.00              0                0                    0
  Dioxins_Furans       83.92      38.00              0                0                    0




                                                                                                                                                                              ARR2316
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                            Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 24 of 98 PageID: 7144
Allocation Facility COC Base Scores - Alternative Calulcation
EnPro Holdings, Inc.                                                                                             900-1000 South 4th Street                                  Harrison    NJ     07029
  Constituent Of   Relative    Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk       (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
     Copper          0.69      2,100,000.00       276,960.25           2,097,178.28              1.883E-1              531.45           394,991.18             1.883E-1      1.300E-1
      Lead             0.01    3,200,000.00       288,577.67           3,197,059.92              1.515E-1              445.47           484,404.44             1.515E-1      1.515E-3
     Mercury           0.95     42,000.00          4,322.53              41,955.96               2.283E-3                0.1                 95.8              2.283E-3      2.169E-3
      HPAHs            0.05    240,000.00        4,346,388.50            195,718.24              4.537E-1            20,088.7            88,788.83             4.537E-1      2.268E-2
      LPAHs            0.01    170,000.00        3,012,835.14            139,304.72              4.365E-1            13,397.38           60,801.45             4.365E-1      4.365E-3
      PCBs             12.87    26,000.00         20,066.54              25,795.56               2.048E-4               0.04                 5.28              2.048E-4      2.636E-3
       DDx             1.37     27,000.00          2,516.93              26,974.36                    0                   0                    0                  0             0
     Dieldrin          0.13      390.00              1.27                  389.99                     0                   0                    0                  0             0
  Dioxins_Furans       83.92      38.00            3,729.82                  0.00                     0                   0                    0                  0             0




                                                                                                                                                                                             ARR2317
                                                   For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Facility Bypass Information
 EnPro Holdings, Inc.                              900-1000 South 4th Street                                       Harrison                           NJ                07029

Item          Bypass Name   Bypass Type   Time %        Flow %                                                                         Bypass Notes
  1            Newark Bay     Bypass       0.00%         0.00%                                                         Did not discharge waste into the Passaic river




                                                                                                                                                                                ARR2318
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
             Case 2:22-cv-07326-MCA-LDW Document 289-12
ADR CONFIDENTIAL COMMUNICATION                     OU2 Facility
                                                                Filed 01/31/24 Page 26 of 98 PageID: 7146
                                                                                                       FINAL 12/28/2020




 Discharge Calcs                                POTW Discharge Information                            COMMENTS/NOTES
                                                gal discharged per day/week/month                     Steel Mill/Arms Production
                                                # hours/per day discharged                            No available data on any discharge volumes or COCs.
                                                #days/week discharged                                 Prior to 1971 directly discharged to Passaic River
                                                #weeks/yr discharged                                  From 1971-1974 discharged to POTW
                                    951,012,000 calc gal/yr discharge                                 All information based on Research from various sources:
                                                                                                       - EPA Sector Notebook
                                            1971 Yr Ops started                                        - Studies of Environmental Science, Volume 5, 1979 pages 217-227
                                            1974 Yr Ops ceased                                        10m^3 of wastewater per ton of steel produced
                                              4 calc #yrs facility operated                           assume 360,000 tons/per year steel

 Copper (Cu)
                                               4   #yrs facility discharged                           1574.10 #/year based on EPA Sector Notebook, Exhibit 8
                                          0.1984   calc mg/L COC discharged                           converted to 0.198 mg/l based on volume
                                           3.785   L per gallon (Merck Index)
                                       0.000001    kg per mg (Merck Index)
                                        2,856.63   calc kg COC discharged
 Lead (Pb)
                                               4   #yrs facility discharged                           1319.83 #/year based on EPA Sector Notebook, Exhibit 8
                                          0.1663   calc mg/L COC discharged                           converted to 0.1663 mg/l based on volume
                                           3.785   L per gallon (Merck Index)
                                       0.000001    kg per mg (Merck Index)
                                        2,394.44   calc kg COC discharged
 Mercury (Hg)
                                              4 #yrs facility discharged                              No Mercury
                                                calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -   calc kg COC discharged
 HPAHs
                                               4 #yrs facility discharged                             5% Oil and Grease in Wastewater per Studies of Env Science Reference
                                          124.99 calc mg/L O&G                                        assume .25% of the 5% is discharged = 124.99 mg/l oil and grease
                                             10% % O&G that is considered PAHs
                                             60% % PAHs considered as HPAHs
                                          7.4994 calc mg/L HPAHs
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                      107,978.77 calc kg COC discharged
 LPAHs
                                               4 #yrs facility discharged
                                          124.99 calc mg/L O&G                                        5% Oil and Grease in Wastewater per Studies of Env Science Reference
                                             10% % O&G that is considered PAHs                        assume .25% of the 5% is discharged = 124.99 mg/l oil and grease
                                             40% % PAHs considered as LPAHs                           plus
                                          5.0014 calc mg/L LPAHs                                       Naphthalene = .0015mg/l
                                           3.785 L per gallon (Merck Index)                            Anthracene = .000311 mg/l
                                       0.000001 kg per mg (Merck Index)
                                       72,011.92 calc kg COC discharged
 PCBs
                                               4 #yrs facility discharged within PCBs Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                        -        calc kg COC discharged
 DDx
                                               2 #yrs facility discharged within DDx Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dieldrin
                                               4 #yrs facility discharged within Dieldrin Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxins/Furans
                                              4 #yrs facility discharged
                                                calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -   calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                               4 #yrs facility discharged within 2,4-D Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                               4 #yrs facility discharged within 2,4,5-T Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                               4 #yrs facility discharged within 2,4,6-TCP Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged



 Summary DMassCOC for POTW:
                                        2,856.63   kg Copper
                                        2,394.44   kg Lead
                                             -     kg Mercury
                                      107,978.77   kg HPAHs
                                       72,011.92   kg LPAHs
                                             -     kg PCBs
                                             -     kg DDx
                                             -     kg Dieldrin
                                             -     kg Dioxins/Furans




Enpro Holdings DMass formatted for report                                                                          1                                                         ARR2319   POTW_PVSC
                                                           For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
             Case 2:22-cv-07326-MCA-LDW Document 289-12
ADR CONFIDENTIAL COMMUNICATION                     OU2 Facility
                                                                Filed 01/31/24 Page 27 of 98 PageID: 7147
                                                                                                       FINAL 12/28/2020




 Discharge Calcs                                        Direct Discharge Information                                    COMMENTS/NOTES
                                                        # hours/day discharged
                                                        # days/week discharged
                                                        # weeks/yr discharged
                                            951,012,000 # gals/yr directly discharged                                   COC concentrations same as for PVSC

                                                   4.08 ft; 30yr average annual precipitation per Rutgers information
                                                        acres
                                                 43,560 ft2 per acre

                                                    1900 Yr Ops started
                                                    1971 Yr Ops ceased
                                                     71 calc #yrs facility operated

 Copper (Cu)
                                                     71    #yrs facility discharged
                                                 0.1984    calc mg/L COC discharged
                                                  3.785    L per gallon (Merck Index)
                                              0.000001     kg per mg (Merck Index)
                                              50,705.13    calc kg COC discharged
 Lead (Pb)
                                                     71    #yrs facility discharged
                                                 0.1663    calc mg/L COC discharged
                                                  3.785    L per gallon (Merck Index)
                                              0.000001     kg per mg (Merck Index)
                                              42,501.33    calc kg COC discharged
 Mercury (Hg)
                                                     71    #yrs facility discharged
                                                    -      calc mg/L COC discharged
                                                  3.785    L per gallon (Merck Index)
                                               0.000001    kg per mg (Merck Index)
                                                    -      calc kg COC discharged
 HPAHs
                                                      71   #yrs facility discharged
                                                  7.4994   calc mg/L COC discharged
                                                   3.785   L per gallon (Merck Index)
                                                0.000001   kg per mg (Merck Index)
                                            1,916,623.23   calc kg COC discharged
 LPAHs
                                                      71   #yrs facility discharged
                                                  5.0014   calc mg/L COC discharged
                                                   3.785   L per gallon (Merck Index)
                                                0.000001   kg per mg (Merck Index)
                                            1,278,211.66   calc kg COC discharged
 PCBs
                                                      43 #yrs facility discharged within PCBs Timeline
                                                         calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                               0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
 DDx
                                                      32 #yrs facility discharged within DDx Timeline
                                                         calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                               0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
 Dieldrin
                                                      22 #yrs facility discharged within Dieldrin Timeline
                                                         calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                               0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
 Dioxins/Furans
                                                     71 #yrs facility discharged
                                                        calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                               0.000001 kg per mg (Merck Index)
                                                    -   calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                                      26 #yrs facility discharged within 2,4-D Timeline
                                                         calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                               0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                                      27 #yrs facility discharged within 2,4,5-T Timeline
                                                         calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                               0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                                      22 #yrs facility discharged within 2,4,6-TCP Timeline
                                                         calc mg/L COC discharged
                                                  3.785 L per gallon (Merck Index)
                                               0.000001 kg per mg (Merck Index)
                                                    -    calc kg COC discharged



 Summary DMassCOC for Direct Discharge:
                                               50,705.13   kg Copper
                                               42,501.33   kg Lead
                                                     -     kg Mercury
                                            1,916,623.23   kg HPAHs
                                            1,278,211.66   kg LPAHs
                                                     -     kg PCBs
                                                     -     kg DDx
                                                     -     kg Dieldrin
                                                     -     kg Dioxins/Furans




Enpro Holdings DMass formatted for report                                                                               3                                     ARR2320   Direct_SW_Passaic
                                                                                                                                                                         For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                                                 Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 28 of 98 PageID: 7148




Discharge Calcs                      Direct Discharge Information                        ASSUMPTIONS, REFERENCES                                                                       COMMENTS/NOTES
                                4.08 FEET/YEAR AVERAGE PRECIPITATION                     Long term average annual precipitation includes floods and hurricane events                   Data from Rutgers University.
                                                                                         occurring over time.

                                  48 ACRES - TOTAL SITE AREA (acres)                     FDR, Page 1
                                  24 ACRES - AFFECTED AREA                               Approximately half of site was covered by buildings (Sanborn).
                            4,046.86 METERS2/ACRE

                              97,125 METERS2 (AFFECTED AREA)

                              0.0001 METERS/YEAR (ERODED SOIL THICKNESS)                 For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                         inches/year.


                                  10 METERS3/YEAR (ERODED SOIL VOLUME)                   VOLUME/YEAR DISCHARGED TO PASSAIC RIVER

                               1900 Year site operations began                           FDR, Page 1.
                               1947 Year site processing and storage operations ceased   FDR, Page 1.

                                  48 NUMBER YEARS DISCHARGE

                                 466 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)


                               1,963 KG/M3 SOIL DENSITY                                  Site soil to depths of 15 feet bgs consists of fill (black cinders, gravel, sand, and silt
                                                                                         with varying degrees of refuse (paper, plastic, concrete, brick, etc.) and slag (PAP-
                                                                                         00031288). Bulk density range for silty sand and gravel 1442 KG/M3 to 2483
                                                                                         KG/M3, so use average. (http://structx.com/Soil_Properties_002.html)


                             915,147 KILOGRAMS (TOTAL SOIL DISCHARGED OVER TIME)


Copper (Cu)
                                  48 YEARS DISCHARGED
                                   0 MG/KG (MAX CONCENTRATION)                           Copper concentration in post-excavation soil sample S-202 (PAP-00083223). Set to
                                                                                         0 since less than HF.
                            0.000001 kg per mg (Merck Index)
                                 0.00 KILOGRAMS DISCHARGED
Lead (Pb)
                                  48 YEARS DISCHARGED
                                   0 MG/KG (MAX CONCENTRATION)                           Lead concentration in post-excavation soil sample S-202 (PAP-00083223). Set to 0
                                                                                         since less than HF.
                            0.000001 kg per mg (Merck Index)
                                 0.00 KILOGRAMS DISCHARGED
Mercury (Hg)
                                  48 YEARS DISCHARGED
                               10.20 MG/KG (MAX CONCENTRATION)                           Mercury concentration in post-excavation soil sample S-203 (PAP-00083223).

                            0.000001 kg per mg (Merck Index)
                                 9.33 KILOGRAMS DISCHARGED
PAHs (listed in Benzo(a)pyrene                                                           Total concentration of PAH compounds forBenzo(a)pyrene Equivalent                                                                                                                                     Toxic
Equivalent conversion table)                                                             https://floridadep.gov/waste/petroleum-restoration/documents/benzo-pyrene-                                                                                                       Concentration     Equivalency      Benzo(a)pyrene
                                                                                         equivalents-conversion-table-one-sample.                                                                                                        Contaminant                        (mg/kg)           Factor          Equivalents
                                  48 YEARS DISCHARGED                                                                                                                                              Surface soil sample B-7 (PAP- Benzo(a)pyrene                        3.900                     1.0             3.9000
                                 5.4 MG/KG (TOTAL PAH MAC CONCENTRATION)                 Sum of Benzo(a)pyrene Equivalent conversion concentrations using maximum                                                    00030278)
                                                                                         concentrations.                                                                                                                         Benzo(a)anthracene                    4.000                     0.1             0.4000
                            0.000001 kg per mg (Merck Index)                                                                                                                                                                     Benzo(b)fluoranthene                  6.100                     0.1             0.6100
                                 4.90 KILOGRAMS DISCHARGED                                                                                                                                                                       Benzo(k)fluoranthene                  0.000                    0.01             0.0000
PAHs (others detected)                                                                   Data below the Benzo(a)pyrene Equivalent Table                                                                                          Chrysene                              4.600                   0.001             0.0046
                                   48 YEARS DISCHARGED                                                                                                                                                                           Dibenz(a,h)anthracene                 0.340                     1.0             0.3400
                                   10 MG/KG (TOTAL PAH MAX CONCENTRATION)                                                                                                                                                        Indeno(1,2,3-cd)pyrene                0.990                     0.1             0.0990
                            0.000001 kg per mg (Merck Index)                                                                                                                                                                     DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                 9.04 KILOGRAMS DISCHARGED                                                                                                                                                                                                              Total Benzo(a)pyrene Equivalents =        5.4
PCBs

                                  17 YEARS DISCHARGED                                    Number of years reflect a 1930 start date for PCBs.                                                                                             Sample B-6 (0-0.5 ft bgs) (PAP-00030278-9)
                                 3.8 MG/KG (MAX CONCENTRATION)                           Maximum total PCB soil concentration in sample RR Tracks (PAP-00083250)
                                                                                                                                                                                                                                         Anthracene                     1.6
                            0.000001 kg per mg (Merck Index)                                                                                                                                                                             Acenaphthene                   0.89
                                 3.48 KILOGRAMS DISCHARGED                                                                                                                                                                               Acenaphthylene                 0.17
DDx                                                                                      NONE FOUND IN AVAILABLE DOCUMENTATION                                                                                                           Fluorene                       0.54
                                    0 YEARS DISCHARGED within DDx Timeline                                                                                                                                                               Naphthalene                    0.48
                                    0 MG/KG (MAX CONCENTRATION)                                                                                                                                                                          Phenanthrene                   6.2
                                3.785 L per gallon (Merck Index)                                                                                                                                                                         2-Methylnaphthalene            0
                            0.000001 kg per mg (Merck Index)                                                                                                                                                                             SUM                            9.88
                                 0.00 KILOGRAMS DISCHARGED




EnPro FT Mass- Final.xlsx


                                                                                                                                                                                                                                                                                                                              ARR2321
                                                                                                                                         For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Dieldrin                                                                          NONE FOUND IN AVAILABLE DOCUMENTATION
                                    0 YEARS DISCHARGED within Dieldrin Timeline
                                    0 MG/KG (MAX CONCENTRATION)
                                3.785 L per gallon (Merck Index)
                            0.000001 kg per mg (Merck Index)
                                 0.00 KILOGRAMS DISCHARGED
Dioxins/Furans                                                                    NONE FOUND IN AVAILABLE DOCUMENTATION
                                   0 YEARS DISCHARGED
                                   0 MG/KG (MAX CONCENTRATION)
                            0.000001 kg per mg (Merck Index)
                                   0 calc kg COC discharged

SUMMARY CMASS ESTIMATES:
                                0.00 kg Copper
                                0.00 kg Lead
                                9.33 kg Mercury
                                4.90 kg PAHs (Benzo(a)pyrene Equivalent)
                                9.04 kg PAHs (Other)
                                3.48 kg PCBs
                                0.00 kg DDx
                                0.00 kg Dieldrin
                                0.00 kg Dioxins/Furans

                               26.75 MASS (KG) DISCHARGED FROM SURFACE SOIL




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                                                                                                                                                                                                                                        ARR2322
                                                                                                                                                                       For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                                                Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 30 of 98 PageID: 7150




Discharge Calcs                       Direct Discharge Information                        ASSUMPTIONS, REFERENCES                                                                    COMMENTS/NOTES
                                 4.08 FEET/YEAR AVERAGE PRECIPITATION                     Long term average annual precipitation includes floods and hurricane events                Data from Rutgers University.
                                                                                          occurring over time.

                               14.85 ACRES - TOTAL SITE AREA (acres)                      (FDR, Page 1)
                                   4 ACRES - AFFECTED AREA                                Estimated 75 percent of site was covered by buildings as early as 1942 (PAP-
                                                                                          00027959).
                            4,046.86 METERS2/ACRE

                              14,973 METERS2 (AFFECTED AREA)

                              0.0001 METERS/YEAR (ERODED SOIL THICKNESS)                  For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                          inches/year.

                                    1 METERS3/YEAR (ERODED SOIL VOLUME)                   VOLUME/YEAR DISCHARGED TO PASSAIC RIVER

                                1938 Year site operations began                           FDR, Page 1.
                                1974 Year site processing and storage operations ceased   FDR, Page 1.

                                  36 NUMBER YEARS DISCHARGE

                                  54 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)


                               1,963 KG/M3 SOIL DENSITY                                   Site reported as located on Historic Fill (FDR, Page 7). Historic Fill reported as sand
                                                                                          with silt and fine gravel. Bulk density range for silty sand and gravel 1442 KG/M 3 to
                                                                                          2483 KG/M3, so use average. (http://structx.com/Soil_Properties_002.html)


                             105,814 KILOGRAMS (TOTAL SOIL DISCHARGED OVER TIME)


Copper (Cu)
                                  36 YEARS DISCHARGED
                                   0 MG/KG (MAX CONCENTRATION)                            Copper concentration in on-site surface soil sample AOC1e-2 (PAP-00028401). Set
                                                                                          to 0 since less than HF.
                            0.000001 kg per mg (Merck Index)
                                 0.00 KILOGRAMS DISCHARGED
Lead (Pb)
                                  36 YEARS DISCHARGED
                                   0 MG/KG (MAX CONCENTRATION)                            Lead concentration in on-site soil sample AOC4-9 (PAP-00028404). Set to 0 since
                                                                                          less than HF.
                            0.000001 kg per mg (Merck Index)
                                 0.00 KILOGRAMS DISCHARGED
Mercury (Hg)
                                   36 YEARS DISCHARGED
                                 5.10 MG/KG (MAX CONCENTRATION)                           Mercury concentration in on-site soil sample SSS-5 (PAP-00028412).
                            0.000001 kg per mg (Merck Index)
                                 0.54 KILOGRAMS DISCHARGED
PAHs (listed in Benzo(a)pyrene                                                            Total concentration of PAH compounds for Benzo(a)pyrene Equivalent                                                                                                                              Toxic
Equivalent conversion table)                                                              https://floridadep.gov/waste/petroleum-restoration/documents/benzo-pyrene-                                                                                                   Concentration   Equivalency    Benzo(a)pyrene
                                                                                          equivalents-conversion-table-one-sample.                                                                                               Contaminant                             (mg/kg)         Factor        Equivalents
                                   36 YEARS DISCHARGED                                                                                                                               Surface soil sample AOC1e-2 (PAP- Benzo(a)pyrene                    3.740                1.0                         3.7400
                                  5.9 MG/KG (TOTAL PAH MAX CONCENTRATION)                 Sum of Benzo(a)pyrene Equivalent conversion concentrations using maximum                   00028401)
                                                                                          concentrations.                                                                                                              Benzo(a)anthracene                4.770                0.1                         0.4770
                            0.000001 kg per mg (Merck Index)                                                                                                                                                           Benzo(b)fluoranthene              5.820                0.1                         0.5820
                                 0.62 KILOGRAMS DISCHARGED                                                                                                                                                             Benzo(k)fluoranthene              2.550               0.01                         0.0255
PAHs (others detected)                                                                    Data below the Benzo(a)pyrene Equivalent Table                                                                               Chrysene                          4.980              0.001                         0.0050
                                   36 YEARS DISCHARGED                                                                                                                                                                 Dibenz(a,h)anthracene             0.784                1.0                         0.7840
                                  4.1 MG/KG (TOTAL PAH MAX CONCENTRATION)                                                                                                                                              Indeno(1,2,3-cd)pyrene            2.640                0.1                         0.2640
                            0.000001 kg per mg (Merck Index)                                                                                                                                                           DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                 0.43 KILOGRAMS DISCHARGED                                                                                                                                                                                                       Total Benzo(a)pyrene Equivalents =        5.9
PCBs
                                   36 YEARS DISCHARGED
                                 5.97 MG/KG (MAX CONCENTRATION)                           PCBs concentration in on-site post-excavation soil sample AOEB/C-S1(PW) (PAP-
                                                                                          00028874). Sample collected between 6-6.5 feet bgs.                                                                                    Sample AOC1e-2 (PAP-00028401)
                            0.000001 kg per mg (Merck Index)                                                                                                                                                                     Anthracene               0.61
                                  0.63 KILOGRAMS DISCHARGED                                                                                                                                                                      Acenaphthene             0.07
DDx                                    NONE FOUND IN AVAILABLE DOCUMENTATION                                                                                                                                                     Acenaphthylene           0.43
                                     0 YEARS DISCHARGED within DDx Timeline                                                                                                                                                      Fluorene                 0.06
                               0.0061 MG/KG (MAX CONCENTRATION)                           4,4-DDE concentration in on-site soil sample GREEN-S1 (PAP-00028849). Sample                                                           Naphthalene
                                                                                          collected bewteen 3-3.5 feet bgs.                                                                                                                               0.31
                                3.785 L per gallon (Merck Index)                                                                                                                                                                 Phenanthrene             2.62
                            0.000001 kg per mg (Merck Index)                                                                                                                                                                     2-Methylnaphthalene      0
                                 0.00 KILOGRAMS DISCHARGED                                                                                                                                                                       SUM                                  4.1




EnPro FT Mass- Final.xlsx


                                                                                                                                                                                                                                                                                                                       ARR2323
                                                                                                                                                       For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                                  Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 31 of 98 PageID: 7151




Dieldrin
                                   0 YEARS DISCHARGED within Dieldrin Timeline
                              0.0133 MG/KG (MAX CONCENTRATION)                   Dieldrin concentration in on-site soil sample AOED-4S (PAP-00028885). Sample
                                                                                 collected between 6-6.5 feet bgs.
                                3.785 L per gallon (Merck Index)
                            0.000001 kg per mg (Merck Index)
                                 0.00 KILOGRAMS DISCHARGED
Dioxins/Furans                        NONE FOUND IN AVAILABLE DOCUMENTATION




                                   0 YEARS DISCHARGED
                                   0 MG/KG (MAX CONCENTRATION)
                            0.000001 kg per mg (Merck Index)
                                   0 calc kg COC discharged

SUMMARY CMASS ESTIMATES:
                                0.00 kg Copper
                                0.00 kg Lead
                                0.54 kg Mercury
                                0.62 kg PAHs (Benzo(a)pyrene Equivalent)
                                0.43 kg PAHs (Other)
                                0.63 kg PCBs
                                0.00 kg DDx
                                0.00 kg Dieldrin
                                0.00 kg Dioxins/Furans

                                2.23 MASS (KG) DISCHARGED FROM SURFACE SOIL




EnPro FT Mass- Final.xlsx


                                                                                                                                                                                                                                                      ARR2324
                                                                            For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                   Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 32 of 98 PageID: 7152
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
EnPro Holdings, Inc.
900-1000 South 4th Street                          Harrison           NJ                  07029
 Facility BS   CUF                 CUF_Category                                                            CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                        Adjusted BS
  5.172E-3     0.0%   Historically Compliant or No Evidence “Small amounts” of oily waste were released to soil at the Spiegel property during the late 1960s -20.0% -20% CPG/SPG member - Continuous provision of                       4.138E-3
                                                                 (Questionnaire, p. 5). Specific information regarding volumes, locations, or waste types released               funding and participation in PRP Group(s) actions to
                                                                 could not be located in the file material. No information on NOVs was identified in the available               cooperate with governmental/regulatory entities to
                                                                 file material.                                                                                                  address environmental or public harm created by own
                                                                                                                                                                                 activities

                                                                                                                                                                                                                       AP_ABS            4.138E-3




                                                                                                                                                                                                                                ARR2325
                                                                            For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                   Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 33 of 98 PageID: 7153
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
EnPro Holdings, Inc.
900-1000 South 4th Street                          Harrison           NJ                  07029
 Facility BS   CUF                 CUF_Category                                                            CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                        Adjusted BS
  1.633E-1     0.0%   Historically Compliant or No Evidence “Small amounts” of oily waste were released to soil at the Spiegel property during the late 1960s -20.0% -20% CPG/SPG member - Continuous provision of                       1.307E-1
                                                                 (Questionnaire, p. 5). Specific information regarding volumes, locations, or waste types released               funding and participation in PRP Group(s) actions to
                                                                 could not be located in the file material. No information on NOVs was identified in the available               cooperate with governmental/regulatory entities to
                                                                 file material.                                                                                                  address environmental or public harm created by own
                                                                                                                                                                                 activities

                                                                                                                                                                                                                       AP_ABS            1.307E-1




                                                                                                                                                                                                                                ARR2326
                  For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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                                  Allocator’s Determinations Regarding
                                Legal Defenses Raised by Allocation Parties

    ENPRO HOLDINGS
    Enpro Holdings asserts that Respondent [EnPro Holdings, Inc.] and Crucible Steel Corporation
    had, no relationship to any parties that released or disposed of COCs at the Facility following
    Crucible Steel Corporation’s sales of the western portion (Guyon Property) in 1947 and 1967
    and the eastern portion (Spiegel Property) in 1974.

    ALLOCATOR’S DETERMINATION - While EnPro alleges that it was not an owner or operator
    under CERCLA, it fails to provide a substantial factual or legal basis to support that claim. The
    Allocator does not believe that EnPro will prevail in an action to overturn EPA’s determination
    of EnPro as a PRP based on the supplied information.




                                                                                                                 ARR2327
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 35 of 98 PageID: 7155
Allocation Facility Cmass Calculation
EPEC Polymers, Inc.                                                                                             290 River Drive                                    Garfield        NJ          07026
  Constituent Of   Overland,    Dmass       PrePVSC    Dmass          PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%         COC Historic
  Concern (COC)      Fate &    Overland,       C%     PrePVSC                                           Discharge         Discharge              Pathway                        CMass
                   Transport    Fate &                                                                      C%                                    Cmass
                       C%      Transport
     Copper         100.00%     747.87      100.00%   12,973.94        2.32%           31,353.69         100.00%                  -               14,449.22   1.018817E-2        147.21
      Lead         100.00%     1,115.01     100.00%   1,161.85         2.32%            2,807.79         100.00%                  -                 2,342.    1.018817E-2        23.86
     Mercury       100.00%       25.29      100.00%     4.36           2.32%              10.53          100.00%                  -                  29.89    1.018817E-2         0.3
      HPAHs        100.00%       18.8       100.00%       -            2.32%                 -           100.00%                  -                  18.8     1.018817E-2         0.19
      LPAHs        100.00%       28.79      100.00%       -            2.32%                 -           100.00%                  -                  28.79    1.018817E-2         0.29
      PCBs         100.00%       2.99       100.00%       -            2.32%                 -           100.00%                  -                  2.99     1.018817E-2         0.03
       DDx         100.00%         -        100.00%       -            2.32%                 -           100.00%                  -                    0      1.018817E-2          0
     Dieldrin      100.00%         -        100.00%       -            2.32%                 -           100.00%                  -                    0      1.018817E-2          0
  Dioxins_Furans   100.00%         -        100.00%       -            2.32%                 -           100.00%                  -                    0      1.018817E-2          0




                                                                                                                                                                                             ARR2328
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 36 of 98 PageID: 7156
Allocation Facility COC Base Scores - Protocol Calculation
EPEC Polymers, Inc.                                                                                            290 River Drive                               Garfield   NJ     07026
  Constituent Of   Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)      Risk      (Tmass)           CMass        Contribution            Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00        147.21        7.010E-5             4.837E-5
      Lead            0.01    3,200,000.00        23.86         7.456E-6             7.456E-8
     Mercury          0.95     42,000.00           0.3          7.251E-6             6.888E-6
      HPAHs           0.05    240,000.00           0.19         7.981E-7             3.990E-8
      LPAHs           0.01    170,000.00           0.29         1.725E-6             1.725E-8
      PCBs            12.87    26,000.00           0.03         1.172E-6             1.508E-5
       DDx            1.37     27,000.00            0                0                    0
     Dieldrin         0.13      390.00              0                0                    0
  Dioxins_Furans      83.92      38.00              0                0                    0




                                                                                                                                                                             ARR2329
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 37 of 98 PageID: 7157
Allocation Facility COC Base Scores - Alternative Calulcation
EPEC Polymers, Inc.                                                                                             290 River Drive                                            Garfield    NJ     07026
  Constituent Of   Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00       276,960.25           2,097,178.28              5.217E-2              147.21           109,411.32             5.217E-2      3.600E-2
      Lead            0.01    3,200,000.00       288,577.67           3,197,059.92              8.116E-3              23.86             25,946.23             8.116E-3      8.116E-5
     Mercury          0.95     42,000.00          4,322.53              41,955.96               6.915E-3                0.3               290.13              6.915E-3      6.569E-3
      HPAHs           0.05    240,000.00        4,346,388.50            195,718.24              4.325E-6               0.19                 0.85              4.325E-6      2.163E-7
      LPAHs           0.01    170,000.00        3,012,835.14            139,304.72              9.556E-6               0.29                 1.33              9.556E-6      9.556E-8
      PCBs            12.87    26,000.00         20,066.54              25,795.56               1.490E-4               0.03                 3.84              1.490E-4      1.918E-3
       DDx            1.37     27,000.00          2,516.93              26,974.36                    0                   0                    0                  0             0
     Dieldrin         0.13      390.00              1.27                  389.99                     0                   0                    0                  0             0
  Dioxins_Furans      83.92      38.00            3,729.82                  0.00                     0                   0                    0                  0             0




                                                                                                                                                                                            ARR2330
                                                  For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                  Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 38 of 98 PageID: 7158
Facility Bypass Information
 EPEC Polymers, Inc.                              290 River Drive                                                 Garfield                               NJ   07026

Item         Bypass Name   Bypass Type   Time %       Flow %                                                                              Bypass Notes
  1            Yantacaw      Bypass       2.32%       100.00%




                                                                                                                                                                      ARR2331
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
              Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 39 of 98 PageID: 7159
ADR CONFIDENTIAL COMMUNICATION                                                                                          OU2 Facility                                                                                   FINAL 12/28/2020




Discharge Calcs                                    POTW Discharge Information                            COMMENTS/NOTES
                                         696,600   gal discharged per day
                                              24   # hours/day discharged (PAP-00039955, PAP-00040041)
                                               7   # days/week discharged (PAP-00039955, PAP-00040041)
                                              52   # weeks/yr (PAP-00039955, PAP-00040041)
                                     229,996,000   calc gal/yr discharge                                 (FDR) (PAP-00039955-59, PAP-0040041-47, PAP-00040062-154, PAP-00040165-67, PAP-00040181-198, PAP-
                                                                                                         00040199-212)

                                            1963 Yr Ops started
                                            1982 Yr Ops ceased
                                             19 calc #yrs facility operated                              PAP-00323278

Copper (Cu)
                                              19 #yrs facility discharged
                                            2.68 calc mg/L COC discharged                                (FDR) (PAP-00039955-59, PAP-0040041-47, PAP-00322628-710, PAP-00040199-212)

                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                         44,328 calc kg COC discharged
Lead (Pb)
                                              19   #yrs facility discharged
                                            0.24   calc mg/L COC discharged                              (FDR) (PAP-00039955-59, PAP-0040041-47, PAP-00322628-710, PAP-00040199-212)
                                           3.785   L per gallon (Merck Index)
                                       0.000001    kg per mg (Merck Index)
                                           3,970   calc kg COC discharged
Mercury (Hg)
                                              19   #yrs facility discharged
                                         0.0009    calc mg/L COC discharged                              (FDR) (PAP-0040041-47, PAP-00322628-710, PAP-00040199-212)
                                           3.785   L per gallon (Merck Index)
                                       0.000001    kg per mg (Merck Index)
                                              15   calc kg COC discharged
HPAHs
                                              19 #yrs facility discharged
                                             -   calc mg/L O&G;                                          (FDR) (PAP-0040041-47, PAP-00040199-212, PAP-00040211)

                                             10% % O&G that is considered PAHs
                                             60% % PAHS considered as HPAHs
                                             -   calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -   calc kg COC discharged
LPAHs
                                              19 #yrs facility discharged
                                             -   calc mg/L O&G;                                          (FDR) (PAP-0040041-47, PAP-00040199-212, PAP-00040211)

                                             10% % O&G that is considered PAHs
                                             40% % PAHs considered as LPAHs
                                             -   calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -   calc kg COC discharged
PCBs                                                                                                     (ND at ppb)
                                               15 #yrs facility discharged within PCBs Timeline
                                                  calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                                  calc kg COC discharged
DDx                                                                                                      (ND at ppb)
                                               10 #yrs facility discharged within DDx Timeline
                                                  calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
Dieldrin                                                                                                 (ND at ppb)
                                               20 #yrs facility discharged within Dieldrin Timeline
                                                  calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
Dioxins/Furans                                                                                           (believed absent in permit application)
                                              19 #yrs facility discharged
                                                 calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -   calc kg COC discharged
Dioxin/Furan Precursor - 2,4-D                                                                           (believed absent in permit application)
                                               20 #yrs facility discharged within 2,4-D Timeline
                                                  calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
Dioxin/Furan Precursor - 2,4,5-T                                                                         (believed absent in permit application)
                                               20 #yrs facility discharged within 2,4,5-T Timeline
                                                  calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
Dioxin/Furan Precursor - 2,4,6-TCP                                                                       (believed absent in permit application)
                                               13 #yrs facility discharged within 2,4,6-TCP Timeline
                                                  calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged



Summary DMassCOC for POTW:
                                         44,328    kg Copper
                                          3,970    kg Lead
                                             15    kg Mercury
                                            -      kg HPAHs
                                            -      kg LPAHs
                                            -      kg PCBs
                                            -      kg DDx
                                            -      kg Dieldrin
                                            -      kg Dioxins/Furans




EPEC Polymers formatted for report                                                                                            1                                                                              ARR2332       POTW_PVSC
                                                                  For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 40 of 98 PageID: 7160
ADR CONFIDENTIAL COMMUNICATION                                                                                                                         OU2 Facility                                                            FINAL 12/28/2020




 Discharge Calcs                                        Direct Discharge Information                                           COMMENTS/NOTES
                                                   24   # hours/day discharged (FDR) (PAP-00039955, PAP-00040041)
                                                    7   # days/week discharged (FDR) (PAP-00039955, PAP-00040041)              No Credit for NJPDES permit as there are no discharge limits for COCs in the permit
                                                   52   # weeks/yr (PAP-00039955, PAP-00040041)
                                            3,347,250   # gals/day directly discharged (FDR) (PAP-00039895, PAP-00039875, PAP-
                                                        00324732, PAP-00040062, PAP-00324732, PAP-0039955)

                                          463,679,800 #gal/yr; (FDR) (PAP-00039895, PAP-00039875, PAP-00040041-47, PAP-
                                                      00324732, PAP-00040181, PAP-00040062)




                                                 1940 Yr Ops started for Outfall 1 (PAP-00324732)
                                                 1953 Yr Ops started for Outfall 2 (PAP-00324732)
                                                 1982 Yr Ops ceased for both Outfalls 1/2
                                                  13 calc #yrs facility operated only Outfall 1
                                                  29 calc #yrs facility operated Outfall 1 and Outfall 2




 Copper (Cu)
                                                   29 #yrs facility discharged
                                                      calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                            0.000001 kg per mg (Merck Index)
                                                  -   calc kg COC discharged
 Lead (Pb)
                                                   29 #yrs facility discharged
                                                      calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                            0.000001 kg per mg (Merck Index)
                                                  -   calc kg COC discharged
 Mercury (Hg)
                                                   29 #yrs facility discharged
                                                      calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                            0.000001 kg per mg (Merck Index)
                                                  -   calc kg COC discharged
 HPAHs
                                                      #yrs facility discharged
                                                  -   #/day TOC daily discharge long term average Outfall #1                    PAP-00040181-198
                                                  -   #/day TOC daily discharge long term average Outfall #2
                                                 2.5% % O&G assumed in TOC
                                                  10% % PAHs assumed in O&G
                                                  60% % HPAHs assumed in PAHs
                                                  -   calc #/day COC for Outfall #1
                                                  -   calc #/day COC for Outfall 2
                                                3.785 L per gallon (Merck Index)
                                            0.000001 kg per mg (Merck Index)
                                                  -   calc kg COC discharged
 LPAHs
                                                      #yrs facility discharged
                                                  -   #/day TOC daily discharge long term average Outfall #1                    PAP-00040181-198
                                                  -   #/day TOC daily discharge long term average Outfall #2
                                                 2.5% % O&G assumed in TOC
                                                  10% % PAHs assumed in O&G
                                                  40% % LPAHs assumed in PAHs
                                                  -   calc #/day COC for Outfall #1
                                                  -   calc #/day COC for Outfalls 2
                                                3.785 L per gallon (Merck Index)
                                            0.000001 kg per mg (Merck Index)
                                                  -   calc kg COC discharged
 PCBs
                                                    14 #yrs facility discharged within PCBs Timeline
                                                       calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                            0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged
 DDx
                                                    14 #yrs facility discharged within DDx Timeline
                                                       calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                            0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged
 Dieldrin
                                                     4 #yrs facility discharged within Dieldrin Timeline
                                                       calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                            0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged
 Dioxins/Furans
                                                   29 #yrs facility discharged
                                                      calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                            0.000001 kg per mg (Merck Index)
                                                  -   calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                                     8 #yrs facility discharged within 2,4-D Timeline
                                                       calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                            0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                                     9 #yrs facility discharged within 2,4,5-T Timeline
                                                       calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                            0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                                     4 #yrs facility discharged within 2,4,6-TCP Timeline
                                                       calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                            0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged



 Summary DMassCOC for Direct Discharge:
                                                  -     kg Copper
                                                  -     kg Lead
                                                  -     kg Mercury
                                                  -     kg HPAHs
                                                  -     kg LPAHs
                                                  -     kg PCBs
                                                  -     kg DDx
                                                  -     kg Dieldrin
                                                  -     kg Dioxins/Furans




EPEC Polymers formatted for report                                                                                                                          2                                                        ARR2333   Direct_SW_Passaic
                                                                                                                                                                        For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                                                Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 41 of 98 PageID: 7161




Discharge Calcs                     Direct Discharge Information                        ASSUMPTIONS, REFERENCES                                                                       COMMENTS/NOTES
                               4.08 FEET/YEAR AVERAGE PRECIPITATION                     Long term average annual precipitation includes floods and hurricane events                   Data from Rutgers University.
                                                                                        occurring over time.

                                6.9 ACRES - TOTAL SITE AREA (acres)                     PAP-00039956
                               2.87 ACRES - AFFECTED AREA                               Buildings occupy approximately 50 percent of the facility; paved areas (primarily
                                                                                        asphalt) cover an estimated 25 percent of the facility (After 1960). The remaining
                                                                                        25 percent of the surface is unpaved (1991)(PAP-00040989)




                           4,046.86 METERS2/ACRE

                            11,614 METERS2 (AFFECTED AREA)

                            0.0001 METERS/YEAR (ERODED SOIL THICKNESS)
                                                                                        For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                        inches/year.

                                     1 METERS3/YEAR (ERODED SOIL VOLUME)                VOLUME/YEAR DISCHARGED TO PASSAIC RIVER

                              1919 Year site operations began - 1919.                   The first buildings at the Garfield Plant were constructed in 1891 by Fritzche    In 1919, the site was purchased by a newly formed New York corporation called Heyden Chemical
                                                                                        Brothers to facilitate chemical manufacturing. Heyden had owned and operated the Company of America Inc. The company was consolidated into the Heyden Chemical Corporation in 1925,
                                                                                        facility since the early 1900s as several forms of the Heyden name (PAP-00040999) and in 1956 changed its name to the Heyden Newport Chemical Corporation. Heyden Newport Chemical
                                                                                                                                                                          Corporation was purchased in 1963 by Tenneco. Kalama Chemical Inc. purchased the site from Tenneco in
                                                                                                                                                                          December 1982 (PAP-00032378).
                              1982 Year site processing and storage operations ceased   In an agreement dated December 1, 1982 between Tenneco and Kalama Chemical,
                                                                                        all liabilities arising out of the condition of the plant, shall remain the respnsibilities
                                                                                        of Tenneco ( PAP-00039799)


                                    63 NUMBER YEARS DISCHARGE                           Tenneson liability 91 years, 1891 to 1982 (PAP-00040999)

                               738 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)


                              1,843 KG/M3 SOIL DENSITY                                  The facility was built over a sequence of unconsolidated deposits consisiting of fine
                                                                                        to coarse sand, silt and clay (PAP-00040396). Cross referencing as Silty Sand at
                                                                                        http://structx.com/Soil_Properties_002.html) has a bulk density range 1410 KG/M3
                                                                                        to 2275 KG/M3, so use average of 1842.5 kg/m3.

                                                                                        The average bulk density reflects cross reference result.
                         1,359,765 KILOGRAMS (TOTAL SOIL DISCHARGED OVER TIME)


                                                                                        The majority of the facility site is not located on regional historic fill (FDR pg 11)

Copper (Cu)
                                63 YEARS DISCHARGED
                               550 MG/KG (MAX CONCENTRATION)                            Table 18 Sample ID B-47-Fill, 0.0-0.5 ft bgs. (PAP-00041872)
                          0.000001 kg per mg (Merck Index)
                               748 KILOGRAMS DISCHARGED
Lead (Pb)
                                63 YEARS DISCHARGED
                               820 MG/KG (AVERAGE CONCENTRATION)
                          0.000001 kg per mg (Merck Index)                              Lead was detected in surface soil (Sample B-47-Fill) at AEC-15 (Salicylic
                                                                                        Acid/Salicylate Production Buildings 10/36/39) at an elevated concentration (PAP-
                                                                                        00042177, 80).
                              1,115 KILOGRAMS DISCHARGED
Mercury (Hg)                                                                            Although mercury was not identified as used in the facility processes, purchase orders from 1973 identified the purchased It is assumed that a spill was the source of the soil contamination
                                                                                        caustic soda as mercury cell material. Analytical results from the caustic soda manufactured using the mercury cell process and that the contamination would have migrated from the surface
                                                                                        were not available to verify that the caustic soda did not contain any trace impurities of mercury (PAP-00324677; PAP-      to the depth confirmed by soil sample analysis in 1991. Given the
                                                                                        00324679; PAP-00324684).                                                                                                    initial erosion would transport Hg impacted soil of greater
                                                                                                                                                                                                                    concentrations than compared to the soil at depth in 1991, the use
                                                                                                                                                                                                                    of the concentration at depth for the OFT estimate is conservative,
                                                                                                                                                                                                                    with decreased soil concentration/mass than experienced at the
                                                                                                                                                                                                                    time of the spill.


                                    63 YEARS DISCHARGED                                 A NJDEP Pretreatment/Residual Waste Survey, dated July 27, 1981, stated mercury was present in the discharge to the
                                                                                        POTW (PAP-00040183, 188).
                               18.6 MG/KG (MAX CONCENTRATION)                           Max concentration of mercury was detected in subsurface soil (depth of 4 to 4.5
                                                                                        feet, Sample B-53 Fill) at AEC-15 (Salicylic Acid/Salicylate Production Buildings
                                                                                        10/36/39) (PAP-00041873).
                          0.000001 kg per mg (Merck Index)
                                25 KILOGRAMS DISCHARGED




EPEC Polymers FT Mass- Final.XLSX


                                                                                                                                                                                                                                                                                          ARR2334
                                                                                                                                                        For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                                   Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 42 of 98 PageID: 7162




PAHs (listed in Benzo(a)pyrene                                                   Total concentration of PAH compounds for Benzo(a)pyrene Equivalent                                                                                                                           Toxic
Equivalent conversion table)                                                     https://floridadep.gov/waste/petroleum-restoration/documents/benzo-pyrene-                                                             Contaminant (PAP-                Concentration     Equivalency      Benzo(a)pyrene
                                                                                 equivalents-conversion-table-one-sample.                                                                                               00040243)                          (mg/kg)           Factor          Equivalents
                                    63 YEARS DISCHARGED                                                                                                               Sample B-52-A on PAP-00041872; FDR Benzo(a)pyrene                                      10.000              1.0           10.0000
                                 13.8 MG/KG (TOTAL PAH AVERAGE CONCENTRATION)                                                                                                                Table page 6. Benzo(a)anthracene                                12.000              0.1            1.2000
                           0.000001 kg per mg (Merck Index)                                                                                                                                                Benzo(b)fluoranthene                              13.000              0.1            1.3000
                                 19 KILOGRAMS DISCHARGED                                                                                                                                                   Benzo(k)fluoranthene                               2.500             0.01            0.0250
PAHs (others detected)              Fluorene - 14.8 ppm                          All LMW PAHs from sample B-52-A on PAP-00041872
                                    Naphthalene - 0.12J ppm
                                    Phenanthrene - 4.6 ppm
                                    Anthracene - 1.3 ppm
                                    Acenaphthene - 0.11J ppm
                                    Acenaphthylene - 0.24J ppm                                                                                                                                                          Chrysene                           12.000               0.001           0.0120
                                 63 YEARS DISCHARGED                                                                                                                                                                    Dibenz(a,h)anthracene               1.000                1.0            1.0000
                                 21 MG/KG (TOTAL PAH MAX CONCENTRATION)                                                                                                                                                 Indeno(1,2,3-cd)pyrene              2.900                0.1            0.2900
                           0.000001 kg per mg (Merck Index)                                                                                                                                                             DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                 29 KILOGRAMS DISCHARGED                                                                                                                                                                                               Total Benzo(a)pyrene Equivalents =        13.8
PCBs

                                    63 YEARS DISCHARGED                          PCBs were detected in soil samples collected from AEC-24 (Transformer at Building
                                                                                 12) at a maximum of 2.2 milligrams/kilogram (mg/kg) for Aroclor-1260 (PAP-
                                                                                 00041881-2).
                                  2.2 MG/KG (MAX OF REPORTED CONCENTRATIONS)     PAP-00044392 PCB concentration in TP-1

                           0.000001 kg per mg (Merck Index)
                                  3 KILOGRAMS DISCHARGED
DDx                                                                              Not a COC at this Site
                                   0 YEARS DISCHARGED within DDx Timeline
                                     MG/KG (MAX CONCENTRATION)
                               3.785 L per gallon (Merck Index)
                           0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
Dieldrin                                                                         Not a COC at this Site
                                   0 YEARS DISCHARGED within Dieldrin Timeline
                                     MG/KG (MAX CONCENTRATION)
                               3.785 L per gallon (Merck Index)
                           0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
Dioxins/Furans                       NONE FOUND IN AVAILABLE DOCUMENTATION       Not a COC at this Site

                                  0 YEARS DISCHARGED
                                  0 MG/KG (MAX CONCENTRATION)
                           0.000001 kg per mg (Merck Index)
                                  0 calc kg COC discharged

SUMMARY CMASS ESTIMATES:
                       747.87 kg Copper
                     1,115.01 kg Lead
                         25.29 kg Mercury
                         18.80 kg PAHs (Benzo(a)pyrene Equivalent)
                         28.79 kg PAHs (Other)
                          2.99 kg PCBs
                          0.00 kg DDx
                          0.00 kg Dieldrin
                          0.00 kg Dioxins/Furans

                           1,938.75 MASS (KG) DISCHARGED FROM SURFACE SOIL




EPEC Polymers FT Mass- Final.XLSX


                                                                                                                                                                                                                                                                                                             ARR2335
                                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                    Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 43 of 98 PageID: 7163
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
EPEC Polymers, Inc.
290 River Drive                                    Garfield             NJ                   07026
 Facility BS   CUF                 CUF_Category                                                              CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                          Adjusted BS
  7.047E-5     0.0%   Historically Compliant or No Evidence PVSC identified violations for pollution entering the Passaic River in 1972, 1972, and 1976 (due             -20.0% -20% CPG/SPG member - Continuous provision of              5.637E-5
                                                                   to leaks and a polluting boiler blow down line), but the facility addressed the issues promptly and             funding and participation in PRP Group(s) actions to
                                                                   resolved the pollution (PAS-00008606, 10, 12-13). No evidence that COCs involved.                               cooperate with governmental/regulatory entities to
                                                                                                                                                                                   address environmental or public harm created by own
                                                                                                                                                                                   activities

                                                                                                                                                                                                                         AP_ABS            5.637E-5




                                                                                                                                                                                                                                  ARR2336
                                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                    Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 44 of 98 PageID: 7164
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
EPEC Polymers, Inc.
290 River Drive                                    Garfield             NJ                   07026
 Facility BS   CUF                 CUF_Category                                                              CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                                          Adjusted BS
  4.457E-2     0.0%   Historically Compliant or No Evidence PVSC identified violations for pollution entering the Passaic River in 1972, 1972, and 1976 (due             -20.0% -20% CPG/SPG member - Continuous provision of              3.565E-2
                                                                   to leaks and a polluting boiler blow down line), but the facility addressed the issues promptly and             funding and participation in PRP Group(s) actions to
                                                                   resolved the pollution (PAS-00008606, 10, 12-13). No evidence that COCs involved.                               cooperate with governmental/regulatory entities to
                                                                                                                                                                                   address environmental or public harm created by own
                                                                                                                                                                                   activities

                                                                                                                                                                                                                         AP_ABS            3.565E-2




                                                                                                                                                                                                                                  ARR2337
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                                   Allocator’s Determinations Regarding
                                 Legal Defenses Raised by Allocation Parties

    EPEC Polymers
    EPEC and El Paso argue that they should receive a zero share of responsibility in the Allocation
    because neither party owned or operated the Garfield Facility, were successors to owners or
    operators of the Garfield Facility, and never assumed any liability for the alleged discharges at
    the site that are at issue in this Allocation. EPEC and El Paso have provided the relevant
    corporate history and supporting documents in prior allocation submissions and have attached
    the relevant information as Exhibits A and B to this Position Paper. There is no basis to attribute
    any liabilities associated with TCI’s ownership and operation of the Garfield Facility to EPEC
    and El Paso because TCI retained any and all liabilities associated with the Garfield Facility,
    and those liabilities ceased to exist upon its dissolution in 1985. See PAP00039823.

    EPEC asserts that EPEC Polymers, Inc. (“EPI”) and El Paso Tennessee Pipeline Co. (“EPTP”)
    received GNL letters from EPA (it is assumed that GNL stands for General Notice Letter);
    however, EPI and EPTP never owned or operated the Facility, nor were either company ever
    successors to any party or parties that owned or operated the Facility. Further, neither party
    assumed any liability for the alleged discharges at the Facility that are at issue in this allocation.
    EPI and EPTP respond on behalf of Tenneco Chemicals, Inc. (“TCI”), which was a former
    owner and operator of the Facility during the Relevant Time Period [October 4, 1963 to
    December 1, 1983].

    The letter from Saul Ewing, Arnstein, & Lehr LLP, dated September 9, 2019, to Mr. David
    Batson stated that the "Heyden Newport" entity that changed its name to Tenneco Chemicals,
    Inc. in 1965 was not the same entity that owned the Garfield Facility prior to Tenneco's
    acquisition. The following statement was provided: “In 1919, Heyden Chemical Company of
    America, Inc., a New York corporation, reportedly acquired the Garfield Site. In 1925, Heyden
    Chemical Company of America was consolidated with Denhey Corporation to form Heyden
    Chemical Corporation, a New York corporation. In March 1943, Heyden Chemical Corporation
    merged into its parent company, Denhey Holding Corporation, a Delaware corporation, and
    Denhey Holding Corporation was renamed Heyden Chemical Corporation, also incorporated in
    Delaware. In March 1943, the Garfield Site was transferred by deed from Heyden Chemical
    Corporation, a New York corporation, to Heyden Chemical Corporation, a Delaware
    corporation. Heyden Chemical Corporation then changed its name to Heyden Newport Chemical
    Corporation (“Old Heyden”). In 1963, Tennessee Gas Transmission Company (“TGT”), Old
    Heyden, and HDN Corporation, a subsidiary of TGT, entered into a transaction whereby Old
    Heyden sold its assets to HDN in exchange for shares of TGT common stock and the assumption
    by HDN of certain of Old Heyden’s liabilities. After the transaction, HDN changed its name to
    “Heyden Newport Chemical Corporation” (“Heyden Newport”) and filed and recorded in
    Delaware a change of name amendment on October 4, 1963. At the same time, Old Heyden
    changed its name to “Denport Corporation” and dissolved (2019 Letter, p. 2).

    EPEC asserts that on December 15, 1982, Tenneco Chemicals and Tenneco Polymers entered
    into an agreement whereby Tenneco Chemicals transferred certain assets to Tenneco
    Polymers. Pursuant to that agreement, Tenneco Chemicals did not transfer any liabilities
    related to the Garfield Site, and any transfer of liabilities was limited to litigations and claims
    known or existing at the time of the conveyance—and expressly referenced in exhibits
    consisting of litigation dockets generated at the time of the transaction. In 1983, Tenneco
    Chemicals changed its name to Tenneco Resins, Inc. (“Resins”), and filed for dissolution two
    years later, in 1985. Tenneco Polymers changed its name to EPEC Polymers, Inc. in ARR2338  1996,
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    shortly following El Paso Merger Company’s acquisition of the energy assets of Tenneco
    Inc. As the aforementioned facts demonstrate, at no time did Tenneco Polymers merge or
    consolidate with Resins. In addition, Tenneco Chemicals was a separate corporation from
    Tenneco Polymers with assets and operations. Although Tenneco Chemicals was a party to
    various asset transfers over the course of its corporate existence, it retained any and all
    liabilities associated with the Garfield Site, and those liabilities ceased to exist upon its
    dissolution in 1985.

    ALLOCATOR’S DETERMINATION – EPEC Polymers provides a persuasive argument that
    has the potential for litigation success, but which cannot be definitively determined based on the
    available data. Though the Allocator presumes a substantial chance of success should this matter
    go to litigation, we leave this matter as a topic for settlement discussions between EPEC
    Polymers and EPA.




                                                                                                                  ARR2339
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Allocation Facility Cmass Calculation
Essex Chemical Corporation                                                                                    330 & 352 Doremus Avenue                           Newark        NJ          07105
  Constituent Of   Overland,    Dmass       PrePVSC    Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)      Fate &    Overland,       C%     PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                   Transport    Fate &                                                                    C%                                    Cmass
                       C%      Transport
     Copper         100.00%       1.1       100.00%      -           0.00%                 -           100.00%                  -                   1.1     1.018817E-2       0.01
      Lead         100.00%       70.09      100.00%      -           0.00%                 -           100.00%                  -                  70.09    1.018817E-2       0.71
     Mercury       100.00%       0.43       100.00%      -           0.00%                 -           100.00%                  -                  0.43     1.018817E-2        0
      HPAHs        100.00%       0.49       100.00%      -           0.00%              1.02           100.00%                2.4                  2.86     1.018817E-2       0.03
      LPAHs        100.00%       0.23       100.00%      -           0.00%              0.68           100.00%                1.6                  1.81     1.018817E-2       0.02
      PCBs         100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
       DDx         100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
     Dieldrin      100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
  Dioxins_Furans   100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                         ARR2340
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 48 of 98 PageID: 7168
Allocation Facility COC Base Scores - Protocol Calculation
Essex Chemical Corporation                                                                                     330 & 352 Doremus Avenue                      Newark   NJ     07105
  Constituent Of   Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)      Risk      (Tmass)           CMass        Contribution            Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00         0.01         5.337E-9             3.682E-9
      Lead           0.01     3,200,000.00         0.71         2.232E-7             2.232E-9
     Mercury         0.95      42,000.00            0           1.043E-7             9.909E-8
      HPAHs          0.05     240,000.00           0.03         1.214E-7             6.069E-9
      LPAHs          0.01     170,000.00           0.02         1.084E-7             1.084E-9
      PCBs          12.87      26,000.00            0                0                    0
       DDx           1.37      27,000.00            0                0                    0
     Dieldrin        0.13       390.00              0                0                    0
  Dioxins_Furans    83.92        38.00              0                0                    0




                                                                                                                                                                           ARR2341
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 49 of 98 PageID: 7169
Allocation Facility COC Base Scores - Alternative Calulcation
Essex Chemical Corporation                                                                                      330 & 352 Doremus Avenue                                   Newark     NJ     07105
  Constituent Of   Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00       276,960.25           2,097,178.28              3.972E-6               0.01                 8.33              3.972E-6     2.740E-6
      Lead           0.01     3,200,000.00       288,577.67           3,197,059.92              2.429E-4               0.71                776.5              2.429E-4     2.429E-6
     Mercury         0.95      42,000.00          4,322.53              41,955.96               9.948E-5                 0                  4.17              9.948E-5     9.450E-5
      HPAHs          0.05     240,000.00        4,346,388.50            195,718.24              6.579E-7               0.03                 0.13              6.579E-7     3.289E-8
      LPAHs          0.01     170,000.00        3,012,835.14            139,304.72              6.006E-7               0.02                 0.08              6.006E-7     6.006E-9
      PCBs          12.87      26,000.00         20,066.54              25,795.56                    0                   0                    0                  0            0
       DDx           1.37      27,000.00          2,516.93              26,974.36                    0                   0                    0                  0            0
     Dieldrin        0.13       390.00              1.27                  389.99                     0                   0                    0                  0            0
  Dioxins_Furans    83.92        38.00            3,729.82                  0.00                     0                   0                    0                  0            0




                                                                                                                                                                                           ARR2342
                                                     For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                     Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 50 of 98 PageID: 7170
Facility Bypass Information
 Essex Chemical Corporation                          330 & 352 Doremus Avenue                                        Newark                             NJ                07105

Item         Bypass Name      Bypass Type   Time %        Flow %                                                                         Bypass Notes
  1           Newark Bay        Bypass       0.00%         0.00%                                                         Did not discharge waste into the Passaic river




                                                                                                                                                                                  ARR2343
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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ADR CONFIDENTIAL COMMUNICATION                       OU2 Facility
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                                                                                                         FINAL 12/28/2020




 Discharge Calcs                                POTW Discharge Information                            COMMENTS/NOTES
                                                gal discharged per day/week/month                     Non Contact Cooling Water, condensate water and storm water runoff discharged to Passaic River
                                                # hours/per day discharged
                                                #days/week discharged                                 Discharged wastewater to sanitary sewer, direct discharge storm water, non contact cooling water and
                                                #weeks/yr discharged                                  boiler blowdown to Passaic River via 3 outlets
                                      2,900,000 calc gal/yr discharge

                                           1956 Yr Ops started
                                           1989 Yr Ops ceased
                                            33 calc #yrs facility operated

 Copper (Cu)
                                              33 #yrs facility discharged
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Lead (Pb)
                                              33 #yrs facility discharged
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Mercury (Hg)
                                              33 #yrs facility discharged
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 HPAHs
                                            33 #yrs facility discharged
                                         1.868 mg/L TOC discharged; PAP-00116140                      NJDEPs Discharge Monitoring Reports - used weighted average based on flows from each outlet and TOC
                                                                                                      concentration
                                           2.5% % TOC that is considered O&G
                                            10% % O&G that is considered PAHs
                                            60% % PAHs considered as HPAHs
                                          0.003 calc mg/L HPAHs
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                           1.02 calc kg COC discharged
 LPAHs
                                            33 #yrs facility discharged
                                         1.868 mg/L TOC discharged; PAP-00116140                      NJDEPs Discharge Monitoring Reports - used weighted average based on flows from each outlet and TOC
                                                                                                      concentration
                                           2.5% % TOC that is considered O&G
                                            10% % O&G that is considered PAHs
                                            40% % PAHs considered as LPAHs
                                          0.002 calc mg/L HPAHs
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                           0.68 calc kg COC discharged
 PCBs
                                              22 #yrs facility discharged within PCBs Timeline
                                            -    calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                       -         calc kg COC discharged
 DDx
                                              17 #yrs facility discharged within DDx Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dieldrin
                                              32 #yrs facility discharged within Dieldrin Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxins/Furans
                                              33 #yrs facility discharged
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                              34 #yrs facility discharged within 2,4-D Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                              30 #yrs facility discharged within 2,4,5-T Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                              20 #yrs facility discharged within 2,4,6-TCP Timeline
                                                 calc mg/L COC discharged
                                          3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -    calc kg COC discharged



 Summary DMassCOC for POTW:
                                            -     kg Copper
                                            -     kg Lead
                                            -     kg Mercury
                                           1.02   kg HPAHs
                                           0.68   kg LPAHs
                                            -     kg PCBs
                                            -     kg DDx
                                            -     kg Dieldrin




Essex Chemical Corporation DMass formatted for report                                                                  1                                                                                     ARR2344   POTW_PVSC
                                                          For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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ADR CONFIDENTIAL COMMUNICATION                    OU2 Facility
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                                                                                                      FINAL 12/28/2020




                                          -    kg Dioxins/Furans




Essex Chemical Corporation DMass formatted for report                                                  2                                                 ARR2345   POTW_PVSC
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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ADR CONFIDENTIAL COMMUNICATION                                                                                               OU2 Facility                                                                         FINAL 12/28/2020




Discharge Calcs                                       Direct Discharge Information                                    COMMENTS/NOTES
                                                      # hours/day discharged                                          Limited data available
                                                      # days/week discharged                                          PAP-00115965
                                                      # weeks/yr discharged                                           PAP-00116075
                                           14,410,000 # gals/yr directly discharged                                   NJDEPS Permit No. 0002283 Discharge to Passaic River
                                                                                                                      PAP-00116140 includes NJDEPs Discharge Monitoring Reports for 1984, 1985 and
                                                                                                                      1986
                                                 4.08 ft; 30yr average annual precipitation per Rutgers information   Only data for TOC (Total Organic Solids) and Volumes through 3 "Outlets)
                                                      acres                                                           No Monitoring for other OU2 COCs
                                               43,560 ft2 per acre                                                    Permit Volumes = Outlet 1, 12.51MGD; Outlet 2, 1.9MGD

                                                  1956 Yr Ops started
                                                  1989 Yr Ops ceased
                                                   33 calc #yrs facility operated

Copper (Cu)
                                                    33   #yrs facility discharged
                                                   -     calc mg/L COC discharged
                                                 3.785   L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                   -     calc kg COC discharged
Lead (Pb)
                                                    33   #yrs facility discharged
                                                   -     calc mg/L COC discharged
                                                 3.785   L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                   -     calc kg COC discharged
Mercury (Hg)
                                                    33   #yrs facility discharged
                                                   -     calc mg/L COC discharged
                                                 3.785   L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                   -     calc kg COC discharged
HPAHs
                                                    33 #yrs facility operated
                                                 1.868 mg/L TOC discharged; PAP-00116140                              NJDEPs Discharge Monitoring Reports - used weighted average based on flows from
                                                                                                                      each outlet and TOC concentration
                                                  2.5% % TOC that is considered O&G
                                                   10% % O&G that is considered PAHs
                                                   60% % PAHs considered as HPAHs
                                                 0.003 calc mg/L HPAHs
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                 5.044 calc kg COC discharged
LPAHs
                                                    33 #yrs facility operated
                                                 1.868 mg/L TOC discharged; PAP-00116140                              NJDEPs Discharge Monitoring Reports - used weighted average based on flows from
                                                                                                                      each outlet and TOC concentration
                                                  2.5% % TOC that is considered O&G
                                                   10% % O&G that is considered PAHs
                                                   40% % PAHs considered as LPAHs
                                                 0.002 calc mg/L HPAHs
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                 3.363 calc kg COC discharged
PCBs
                                                     22 #yrs facility discharged within PCBs Timeline
                                                   -    calc mg/L COC discharged
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                   -    calc kg COC discharged
DDx
                                                     17 #yrs facility discharged within DDx Timeline
                                                   -    calc mg/L COC discharged
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                   -    calc kg COC discharged
Dieldrin
                                                     32 #yrs facility discharged within Dieldrin Timeline
                                                   -    calc mg/L COC discharged
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                   -    calc kg COC discharged
Dioxins/Furans
                                                    33   #yrs facility discharged
                                                   -     calc mg/L COC discharged
                                                 3.785   L per gallon (Merck Index)
                                             0.000001    kg per mg (Merck Index)
                                                   -     calc kg COC discharged
Dioxin/Furan Precursor - 2,4-D
                                                     34 #yrs facility discharged within 2,4-D Timeline
                                                   -    calc mg/L COC discharged
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                   -    calc kg COC discharged
Dioxin/Furan Precursor - 2,4,5-T
                                                     30 #yrs facility discharged within 2,4,5-T Timeline
                                                   -    calc mg/L COC discharged
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                   -    calc kg COC discharged
Dioxin/Furan Precursor - 2,4,6-TCP
                                                     20 #yrs facility discharged within 2,4,6-TCP Timeline
                                                   -    calc mg/L COC discharged
                                                 3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                   -    calc kg COC discharged



Summary DMassCOC for Direct Discharge:
                                                   -     kg Copper
                                                   -     kg Lead
                                                   -     kg Mercury
                                                 2.369   kg HPAHs
                                                 1.580   kg LPAHs
                                                   -     kg PCBs
                                                   -     kg DDx
                                                   -     kg Dieldrin




Essex Chemical Corporation DMass formatted for report                                                                             3                                                                     ARR2346   Direct_SW_Passaic
                                                            For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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ADR CONFIDENTIAL COMMUNICATION                                                                        OU2 Facility                                                   FINAL 12/28/2020




                                                   -    kg Dioxins/Furans




Essex Chemical Corporation DMass formatted for report                                                      4                                               ARR2347   Direct_SW_Passaic
                                                                                                                                                                     For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                                               Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 55 of 98 PageID: 7175




Discharge Calcs                      Direct Discharge Information                          ASSUMPTIONS, REFERENCES                                                                 COMMENTS/NOTES
                                4.08 FEET/YEAR AVERAGE PRECIPITATION                       Long term average annual precipitation includes floods and hurricane events             Data from Rutgers University.
                                                                                           occurring over time.

                                      15 ACRES - TOTAL SITE AREA (acres)
                                     2.4 ACRES - AFFECTED AREA                             Based on the figure in the FDR (Page 2), it appears that the paved, manufacturing
                                                                                           operations used 80% of the site, so affected area is estimated as 20% of the site

                            4,046.86 METERS2/ACRE

                               9,712 METERS2 (AFFECTED AREA)

                              0.0001 METERS/YEAR (ERODED SOIL THICKNESS)                   For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                           inches/year.


                                      1 METERS3/YEAR (ERODED SOIL VOLUME)                  VOLUME/YEAR DISCHARGED TO DITCHES AND PASSAIC

                                1956 Year site operations began                            330 Doremus was operating from 1956-1989 and 352 Doremus was operating from
                                                                                           1965 to 1989 (FDR Page 1). To be conservative, used the earlier date as the
                                1989 Year site processing and storage operations ceased
                                                                                           beginning of operations.

                                     33 NUMBER YEARS DISCHARGE

                                     32 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)


                               2,003 KG/M3 SOIL DENSITY                                    Most soils at the Newark site consisted of fine grained, clayey silt with organic
                                                                                           matter (PAP-00116565). Used structx.com/Soil_Properties_002.html for density.
                                                                                           Used the average of silt and clay min (1506 kg/m3) and max (2499 kg/m3).


                              64,182 KILOGRAMS (TOTAL SOIL DISCHARGED OVER TIME)
                                                                                           Site is located on regional historic fill (FDR page 5)
Copper (Cu)                                                                                Detected at soil sample location Q-3 (3.5-4 ft bgs) at 110,000 ug/kg (110 ppm);
                                                                                           collected 11/21/1990 at the Truck Maintenance Building and Quantum Chemical
                                                                                           Areas (PAP-00116914). Selected maximum from shallowest depth.

                                 33 YEARS DISCHARGED
                                  0 MG/KG (MAX CONCENTRATION)                              Max concentration 110 mg/kg. Set to 0 since less than HF.
                           0.000001 kg per mg (Merck Index)
                                  0 KILOGRAMS DISCHARGED
Lead (Pb)                                                                                  Detected at soil sample location Q-3 (3.5-4 ft bgs) at 7,000 mg/kg; collected
                                                                                           11/21/1990 at the Quantum Chemical Area (PAP-00116914; PAP-00117022).
                                                                                           Selected maximum from shallowest depth.
                                 33 YEARS DISCHARGED
                                  0 MG/KG (MAX CONCENTRATION)                              7,000 mg/kg max concentration. Set to 0 since less than HF.
                           0.000001 kg per mg (Merck Index)
                                  0 KILOGRAMS DISCHARGED
Mercury (Hg)
                                     33 YEARS DISCHARGED                                   Detected at soil sample location TMB-2 (4-4.5 ft bgs) at 5.8 mg/kg; collected
                                                                                           11/19/1990 at the Truck Maintenance Building (PAP-00117155). Detected 680 J
                                                                                           ug/kg at Q-1 (3.5-4 ft) on 11/21/1990 (PAP-00117156). Selected maximum from
                                                                                           shallowest depth.
                                  5.8 MG/KG (MAX CONCENTRATION)
                            0.000001 kg per mg (Merck Index)
                                    0 KILOGRAMS DISCHARGED
PAHs (listed in Benzo(a)pyrene                                                             Total concentration of PAH compounds for Benzo(a)pyrene Equivalent                                                                                                                              Toxic
Equivalent conversion table)                                                               https://floridadep.gov/waste/petroleum-restoration/documents/benzo-pyrene-                                                                                                 Concentration     Equivalency      Benzo(a)pyrene
                                                                                           equivalents-conversion-table-one-sample.                                                                                         Contaminant                                 (mg/kg)           Factor          Equivalents
                                 33 YEARS DISCHARGED                                                                                                                               Selected maximum from                    Benzo(a)pyrene                                 4.500              1.0            4.5000
                                6.5 MG/KG (TOTAL PAH AVERAGE CONCENTRATION)                                                                                                        shallowest depth. PAP-                   Benzo(a)anthracene                             4.500              0.1            0.4500
                           0.000001 kg per mg (Merck Index)                                                                                                                        00116959                                 Benzo(b)fluoranthene                           4.600              0.1            0.4600
                                  0 KILOGRAMS DISCHARGED                                                                                                                                                                    Benzo(k)fluoranthene                           4.000             0.01            0.0400
PAHs (others detected)                                                                                                                                                                                                      Chrysene                                       5.100            0.001            0.0051
                                     33 YEARS DISCHARGED                                                                                                                                                                    Dibenz(a,h)anthracene                          0.830              1.0            0.8300
                                      0 MG/KG (TOTAL PAH MAX CONCENTRATION)                PAP-00116913




                                                                                                                                                                                                                            Indeno(1,2,3-cd)pyrene                2.500                      0.1             0.2500
                           0.000001 kg per mg (Merck Index)                                                                                                                                                                 DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                  0 KILOGRAMS DISCHARGED                                                                                                                                                                                                            Total Benzo(a)pyrene Equivalents =        6.5




Essex Chemical FT Mass- Final.xlsx


                                                                                                                                                                                                                                                                                                                          ARR2348
                                                                                                                     For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                      Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 56 of 98 PageID: 7176




PCBs                                                                             NOT DETECTED (FDR)
                                    YEARS DISCHARGED
                                    MG/KG (MAX OF REPORTED CONCENTRATIONS)
                           0.000001 kg per mg (Merck Index)
                                  0 KILOGRAMS DISCHARGED
DDx                                                                              NOT DETECTED (FDR)
                                   0 YEARS DISCHARGED within DDx Timeline
                                     MG/KG (MAX CONCENTRATION)
                               3.785 L per gallon (Merck Index)
                           0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
Dieldrin                                                                         NOT DETECTED (FDR)
                                   0 YEARS DISCHARGED within Dieldrin Timeline
                                     MG/KG (MAX CONCENTRATION)
                               3.785 L per gallon (Merck Index)
                           0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
Dioxins/Furans                       NONE FOUND IN AVAILABLE DOCUMENTATION       NOT DETECTED (FDR)
                                   0 YEARS DISCHARGED
                                   0 MG/KG (MAX CONCENTRATION)
                           0.000001 kg per mg (Merck Index)
                                   0 calc kg COC discharged

SUMMARY CMASS ESTIMATES:
                                0.00 kg Copper
                                0.00 kg Lead
                                0.37 kg Mercury
                                0.42 kg PAHs (Benzo(a)pyrene Equivalent)
                                0.02 kg PAHs (Other)
                                0.00 kg PCBs
                                0.00 kg DDx
                                0.00 kg Dieldrin
                                0.00 kg Dioxins/Furans

                                0.81 MASS (KG) DISCHARGED FROM SURFACE SOIL




Essex Chemical FT Mass- Final.xlsx


                                                                                                                                                                                                                    ARR2349
                                                                                                                                                                     For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                                               Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 57 of 98 PageID: 7177




Discharge Calcs                      Direct Discharge Information                          ASSUMPTIONS, REFERENCES                                                                 COMMENTS/NOTES
                                4.08 FEET/YEAR AVERAGE PRECIPITATION                       Long term average annual precipitation includes floods and hurricane events             Data from Rutgers University.
                                                                                           occurring over time.

                                      15 ACRES - TOTAL SITE AREA (acres)
                                     2.4 ACRES - AFFECTED AREA                             Based on the figure in the FDR (Page 2), it appears that the paved, manufacturing
                                                                                           operations used 80% of the site, so affected area is estimated as 20% of the site

                            4,046.86 METERS2/ACRE

                               9,712 METERS2 (AFFECTED AREA)

                              0.0010 METERS/YEAR (ERODED SOIL THICKNESS)                   For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                           inches/year.


                                                                                           VOLUME/YEAR DISCHARGED
                                      5 METERS3/YEAR (ERODED SOIL VOLUME)

                                1974 Year of spill                                         330 Doremus was operating from 1956-1989 and 352 Doremus was operating from 1965 to 1989 (FDR Page 1). For this
                                                                                           pathway, a release occurred in 1972, where nitric acid overflowed from a 20,000 gallon tank car. The ground was covered
                                                                                           with soda ash and water and the fire department washed the residue into the Passaic (FDR Page 9).

                                1975 Year of spill                                         Will conservatively assume 1 year. The 20,000 gallon release likely carved a
                                                                                           channel to the Passaic.



                                      1 NUMBER YEARS DISCHARGE

                                      5 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)



                               2,003 KG/M3 SOIL DENSITY                                    Most soils at the Newark site consisted of fine grained, clayey silt with organic
                                                                                           matter (PAP-00116565). Used structx.com/Soil_Properties_002.html for density.
                                                                                           Used the average of silt and clay min (1506 kg/m3) and max (2499 kg/m3).


                              10,013 KILOGRAMS (TOTAL SOIL DISCHARGED OVER TIME)
                                                                                           Site is located on regional historic fill (FDR page 5)
Copper (Cu)                                                                                Detected at soil sample location Q-3 (3.5-4 ft bgs) at 110,000 ug/kg (110 ppm);
                                      1 YEARS DISCHARGED                                   collected 11/21/1990 at the Truck Maintenance Building and Quantum Chemical
                                                                                           Areas (PAP-00116914). Selected maximum from shallowest depth.
                                 110 MG/KG (MAX CONCENTRATION)                             Max concentration 110 mg/kg. HF washed into River by 20,000 gallon acid release
                                                                                           and by firehose, which washed all impacted/stained soil into the River

                           0.000001 kg per mg (Merck Index)
                                  1 KILOGRAMS DISCHARGED
Lead (Pb)                                                                                  Detected at soil sample location Q-3 (3.5-4 ft bgs) at 7,000 mg/kg; collected
                                   1 YEARS DISCHARGED                                      11/21/1990 at the Quantum Chemical Area (PAP-00116914; PAP-00117022).
                                7000 MG/KG (MAX CONCENTRATION)                             7,000 mg/kg max concentration.HF washed into River by 20,000 gallon acid release
                                                                                           and by firehose, which washed all impacted/stained soil into the River.

                           0.000001 kg per mg (Merck Index)
                                 70 KILOGRAMS DISCHARGED
Mercury (Hg)
                                       1 YEARS DISCHARGED                                  Detected at soil sample location TMB-2 (4-4.5 ft bgs) at 5.8 mg/kg; collected
                                     5.8 MG/KG (MAX CONCENTRATION)                         11/19/1990 at the Truck Maintenance Building (PAP-00117155). Detected 680 J
                                                                                           ug/kg at Q-1 (3.5-4 ft) on 11/21/1990 (PAP-00117156). Selected maximum from
                                                                                           shallowest depth.
                           0.000001 kg per mg (Merck Index)
                                  0 KILOGRAMS DISCHARGED




Essex Chemical FT Mass- Final.xlsx


                                                                                                                                                                                                                                                                    ARR2350
                                                                                                                                                     For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                                                                Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 58 of 98 PageID: 7178




PAHs (listed in Benzo(a)pyrene
                                                                                 Total concentration of PAH compounds for Benzo(a)pyrene Equivalent
Equivalent conversion table)                                                                                                                                                                                                                                               Toxic
                                                                                 https://floridadep.gov/waste/petroleum-restoration/documents/benzo-pyrene-
                                                                                                                                                                                                                                                      Concentration     Equivalency      Benzo(a)pyrene
                                                                                 equivalents-conversion-table-one-sample.                                                                                                                               (mg/kg)           Factor          Equivalents
                                                                                                                                                                                                                  Contaminant
                                   1 YEARS DISCHARGED                                                                                                               Selected maximum from shallowest Benzo(a)pyrene                       4.500                              1.0             4.5000
                                 6.5 MG/KG (TOTAL PAH AVERAGE CONCENTRATION)                                                                                                     depth. PAP-00116959 Benzo(a)anthracene                   4.500                              0.1             0.4500
                           0.000001 kg per mg (Merck Index)                                                                                                                                          Benzo(b)fluoranthene                 4.600                              0.1             0.4600
                                0.07 KILOGRAMS DISCHARGED                                                                                                                                            Benzo(k)fluoranthene                 4.000                             0.01             0.0400
PAHs (others detected)                                                                                                                                                                               Chrysene                             5.100                            0.001             0.0051
                                   1 YEARS DISCHARGED                                                                                                                                                Dibenz(a,h)anthracene                0.830                              1.0             0.8300
                                  21 MG/KG (TOTAL PAH MAX CONCENTRATION)         PAP-00116913                                                                                                        Indeno(1,2,3-cd)pyrene               2.500                              0.1             0.2500
                           0.000001 kg per mg (Merck Index)                                                                                                                                          DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                0.21 KILOGRAMS DISCHARGED                                                                                                                                                                                           Total Benzo(a)pyrene Equivalents =        6.5
PCBs                                                                             NOT DETECTED (FDR)

                                    YEARS DISCHARGED
                                    MG/KG (MAX OF REPORTED CONCENTRATIONS)
                           0.000001 kg per mg (Merck Index)
                                  0 KILOGRAMS DISCHARGED
DDx                                                                              NOT DETECTED (FDR)
                                   0 YEARS DISCHARGED within DDx Timeline
                                     MG/KG (MAX CONCENTRATION)
                               3.785 L per gallon (Merck Index)
                           0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
Dieldrin                                                                         NOT DETECTED (FDR)
                                   0 YEARS DISCHARGED within Dieldrin Timeline
                                     MG/KG (MAX CONCENTRATION)
                               3.785 L per gallon (Merck Index)
                           0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
Dioxins/Furans                       NONE FOUND IN AVAILABLE DOCUMENTATION       NOT DETECTED (FDR)




                                  0 YEARS DISCHARGED
                                  0 MG/KG (MAX CONCENTRATION)
                           0.000001 kg per mg (Merck Index)
                                  0 calc kg COC discharged

SUMMARY CMASS ESTIMATES:
                                  1.10 kg Copper
                                 70.09 kg Lead
                                  0.06 kg Mercury
                                  0.07 kg PAHs (Benzo(a)pyrene Equivalent)
                                  0.21 kg PAHs (Other)
                                  0.00 kg PCBs
                                  0.00 kg DDx
                                  0.00 kg Dieldrin
                                  0.00 kg Dioxins/Furans

                                 71.52 MASS (KG) DISCHARGED




Essex Chemical FT Mass- Final.xlsx


                                                                                                                                                                                                                                                                                                          ARR2351
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                            Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 59 of 98 PageID: 7179
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
Essex Chemical Corporation
330 & 352 Doremus Avenue                Newark            NJ                   07105
 Facility BS   CUF           CUF_Category                                                      CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                            Adjusted BS
  8.412E-8     10.0%   Periodic Noncompliacne        Criminal charges were filed against Essex in United States District Court, District of New Jersey on   -20.0% -20% CPG/SPG member - Continuous provision of             7.571E-8
                                                     July 11, 1974, arising from a 1972 release to the Passaic River from Essex (PAS-00062740). As                   funding and participation in PRP Group(s) actions to
                                                     described by a PVSC inspector, a 20,000 gallon tank car with oleum and nitric acid overflowed                   cooperate with governmental/regulatory entities to
                                                     through a vent pipe due to internal pressure. The ground was covered with soda ash and water                    address environmental or public harm created by own
                                                     to neutralize the overflow, and the fire department then washed the residue into the Passaic                    activities
                                                     River (PAS-00062745). New Jersey State Department of Health issued “pollution abatement
                                                     orders” to Essex in 1969 (PAP-00140967). No further information was available.

                                                                                                                                                                                                           AP_ABS            7.571E-8




                                                                                                                                                                                                                    ARR2352
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                            Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 60 of 98 PageID: 7180
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
Essex Chemical Corporation
330 & 352 Doremus Avenue                Newark            NJ                   07105
 Facility BS   CUF           CUF_Category                                                      CUF_NOTES                                                       COF                       COF_NOTES                            Facillty
                                                                                                                                                                                                                            Adjusted BS
  7.478E-5     10.0%   Periodic Noncompliacne        Criminal charges were filed against Essex in United States District Court, District of New Jersey on   -20.0% -20% CPG/SPG member - Continuous provision of             6.731E-5
                                                     July 11, 1974, arising from a 1972 release to the Passaic River from Essex (PAS-00062740). As                   funding and participation in PRP Group(s) actions to
                                                     described by a PVSC inspector, a 20,000 gallon tank car with oleum and nitric acid overflowed                   cooperate with governmental/regulatory entities to
                                                     through a vent pipe due to internal pressure. The ground was covered with soda ash and water                    address environmental or public harm created by own
                                                     to neutralize the overflow, and the fire department then washed the residue into the Passaic                    activities
                                                     River (PAS-00062745). New Jersey State Department of Health issued “pollution abatement
                                                     orders” to Essex in 1969 (PAP-00140967). No further information was available.

                                                                                                                                                                                                           AP_ABS            6.731E-5




                                                                                                                                                                                                                    ARR2353
                   For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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                                   Allocator’s Determinations Regarding
                                 Legal Defenses Raised by Allocation Parties

    ESSEX CHEMICAL
    Essex argues that it received a partial release of liability from Occidental Chemical (see
    attached), in the Maxus bankruptcy, along with 41 other parties. The releasing parties explained
    the rationale for providing this release in that proceeding as follows: “The debtors sought to
    eliminate those parties that (a) appeared to either be de minimis contributors or (b) had
    previously contributed to the investigation and the remediation costs in amounts roughly
    proportionate to their share of liability.” Maxus bankruptcy docket no. 1232 at 24, filed April 19,
    2017.

    ALLOCATOR’S DETERMINATION – Though I have not had the opportunity to review the
    underlying settlement document and other potentially relevant facts associated with the release
    provided by OCC, assuming its validity, it is apparent that there is a high likelihood of success in
    any action against OCC to enforce the release. Given OCC’s lack of participation in the
    allocations process, however, the Allocator does not believe that it is appropriate to account for
    the amount of any such release in the assignment of allocated shares. Rather, the Allocator notes
    the existence of the release and recommends that it be taken into account in determining the
    appropriate amount of any future settlement with EPA.




                                                                                                                  ARR2354
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 62 of 98 PageID: 7182
Allocation Facility Cmass Calculation
Everett Smith Group                                                                                           20 Bruen Street                                    Newark        NJ          07105
  Constituent Of   Overland,    Dmass       PrePVSC    Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)      Fate &    Overland,       C%     PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                   Transport    Fate &                                                                    C%                                    Cmass
                       C%      Transport
     Copper         100.00%        -        100.00%      -           10.03%                -           100.00%                  -                    0      1.018817E-2        0
      Lead         100.00%         -        100.00%      -           10.03%                -           100.00%                  -                    0      1.018817E-2        0
     Mercury       100.00%         -        100.00%      -           10.03%                -           100.00%                  -                    0      1.018817E-2        0
      HPAHs        100.00%         -        100.00%      -           10.03%                -           100.00%                  -                    0      1.018817E-2        0
      LPAHs        100.00%         -        100.00%      -           10.03%                -           100.00%                  -                    0      1.018817E-2        0
      PCBs         100.00%         -        100.00%      -           10.03%                -           100.00%                  -                    0      1.018817E-2        0
       DDx         100.00%         -        100.00%      -           10.03%                -           100.00%                  -                    0      1.018817E-2        0
     Dieldrin      100.00%         -        100.00%      -           10.03%                -           100.00%                  -                    0      1.018817E-2        0
  Dioxins_Furans   100.00%         -        100.00%      -           10.03%                -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                         ARR2355
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 63 of 98 PageID: 7183
Allocation Facility COC Base Scores - Protocol Calculation
Everett Smith Group                                                                                            20 Bruen Street                               Newark   NJ     07105
  Constituent Of   Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)      Risk      (Tmass)           CMass        Contribution            Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00          0                0                    0
      Lead            0.01    3,200,000.00          0                0                    0
     Mercury          0.95     42,000.00            0                0                    0
      HPAHs           0.05    240,000.00            0                0                    0
      LPAHs           0.01    170,000.00            0                0                    0
      PCBs          12.87      26,000.00            0                0                    0
       DDx            1.37     27,000.00            0                0                    0
     Dieldrin         0.13      390.00              0                0                    0
  Dioxins_Furans    83.92        38.00              0                0                    0




                                                                                                                                                                           ARR2356
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 64 of 98 PageID: 7184
Allocation Facility COC Base Scores - Alternative Calulcation
Everett Smith Group                                                                                             20 Bruen Street                                            Newark     NJ     07105
  Constituent Of   Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00       276,960.25           2,097,178.28                   0                   0                    0                 0             0
      Lead            0.01    3,200,000.00       288,577.67           3,197,059.92                   0                   0                    0                 0             0
     Mercury          0.95     42,000.00          4,322.53              41,955.96                    0                   0                    0                 0             0
      HPAHs           0.05    240,000.00        4,346,388.50            195,718.24                   0                   0                    0                 0             0
      LPAHs           0.01    170,000.00        3,012,835.14            139,304.72                   0                   0                    0                 0             0
      PCBs          12.87      26,000.00         20,066.54              25,795.56                    0                   0                    0                 0             0
       DDx            1.37     27,000.00          2,516.93              26,974.36                    0                   0                    0                 0             0
     Dieldrin         0.13      390.00              1.27                  389.99                     0                   0                    0                 0             0
  Dioxins_Furans    83.92        38.00            3,729.82                  0.00                     0                   0                    0                 0             0




                                                                                                                                                                                           ARR2357
                                                  For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Facility Bypass Information
 Everett Smith Group                              20 Bruen Street                                                 Newark                                 NJ   07105

Item         Bypass Name   Bypass Type   Time %        Flow %                                                                             Bypass Notes
  1            City Dock      CSO         0.11%        61.80%

 2            City Dock       Bypass     9.96%        100.00%




                                                                                                                                                                      ARR2358
                                                                  For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
               Case 2:22-cv-07326-MCA-LDW Document 289-12
ADR CONFIDENTIAL COMMUNICATION                       OU2 Facility
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                                                                                                         FINAL 12/28/2020




 Discharge Calcs                                    POTW Discharge Information                         COMMENTS/NOTES
                                                    gal discharged per day/week/month                  Leather Tannery
                                                    # hours/per day discharged                         No information on flows or COC discharges
                                                  5 #days/week discharged                              Facility would have discharged to the PVSC by the City Dock CSO
                                                 52 #weeks/yr discharged                               S. Lange Expert Report, FDR




                                      88,441,160 calc gal/yr discharge

                                            1937 Yr Ops started
                                            1939 Yr Ops ceased
                                             2.5 calc #yrs facility operated                           PAP-00000053, PAS-00032775

 Copper (Cu)
                                              2.5   #yrs facility discharged                           S. Lange Expert Report, FDR
                                             -      calc mg/L COC discharged
                                           3.785    L per gallon (Merck Index)
                                       0.000001     kg per mg (Merck Index)
                                             -      calc kg COC discharged
 Lead (Pb)
                                              2.5   #yrs facility discharged                           S. Lange Expert Report, FDR
                                             -      calc mg/L COC discharged
                                           3.785    L per gallon (Merck Index)
                                       0.000001     kg per mg (Merck Index)
                                             -      calc kg COC discharged
 Mercury (Hg)
                                              2.5   #yrs facility discharged
                                             -      calc mg/L COC discharged
                                           3.785    L per gallon (Merck Index)
                                       0.000001     kg per mg (Merck Index)
                                             -      calc kg COC discharged
 HPAHs
                                              2.5 #yrs facility discharged
                                             -    calc mg/L O&G
                                             10% % O&G that is considered PAHs
                                             60% % COC in O&G considered as PAHs
                                             -    calc mg/L HPAHs
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
 LPAHs
                                              2.5 #yrs facility discharged
                                             -    calc mg/L O&G
                                             10% % O&G that is considered PAHs
                                             40% % COC in O&G considered as PAHs
                                             -    calc mg/L LPAHs
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
 PCBs
                                              3.0   #yrs facility discharged within PCBs Timeline
                                             -      calc mg/L COC discharged
                                           3.785    L per gallon (Merck Index)
                                       0.000001     kg per mg (Merck Index)
                                        -           calc kg COC discharged
 DDx
                                                0 #yrs facility discharged within DDx Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
 Dieldrin
                                              -10 #yrs facility discharged within Dieldrin Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
 Dioxins/Furans
                                               3    #yrs facility discharged
                                             -      calc mg/L COC discharged
                                           3.785    L per gallon (Merck Index)
                                       0.000001     kg per mg (Merck Index)
                                             -      calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                               -6 #yrs facility discharged within 2,4-D Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                               -5 #yrs facility discharged within 2,4,5-T Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                              -10 #yrs facility discharged within 2,4,6-TCP Timeline
                                             -    calc mg/L COC discharged
                                           3.785 L per gallon (Merck Index)
                                       0.000001 kg per mg (Merck Index)
                                             -    calc kg COC discharged



 Summary DMassCOC for POTW:
                                             -      kg Copper
                                             -      kg Lead
                                             -      kg Mercury
                                             -      kg HPAHs
                                             -      kg LPAHs
                                             -      kg PCBs
                                             -      kg DDx
                                             -      kg Dieldrin




Everett Smith Group DMass formatted for report                                                                          1                                                ARR2359   POTW_PVSC
                                                            For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
            Case 2:22-cv-07326-MCA-LDW Document 289-12
ADR CONFIDENTIAL COMMUNICATION                    OU2 Facility
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                                                                                                      FINAL 12/28/2020




                                          -      kg Dioxins/Furans




Everett Smith Group DMass formatted for report                                                           2                                                 ARR2360   POTW_PVSC
                                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                    Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 68 of 98 PageID: 7188
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
Everett Smith Group
20 Bruen Street                                     Newark              NJ                  07105
 Facility BS   CUF                  CUF_Category                                                             CUF_NOTES                                                       COF                         COF_NOTES                           Facillty
                                                                                                                                                                                                                                           Adjusted BS
     0         0.0%   Historically Compliant or No Evidence No information on violations or sloppy practices was identified in the available file material.                  0.0% 0% Cooperation with conduct of allocation and requests        0
                                                                                                                                                                                    for related information

                                                                                                                                                                                                                         AP_ABS                0




                                                                                                                                                                                                                                 ARR2361
                                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                    Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 69 of 98 PageID: 7189
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
Everett Smith Group
20 Bruen Street                                     Newark              NJ                  07105
 Facility BS   CUF                  CUF_Category                                                             CUF_NOTES                                                       COF                         COF_NOTES                           Facillty
                                                                                                                                                                                                                                           Adjusted BS
     0         0.0%   Historically Compliant or No Evidence No information on violations or sloppy practices was identified in the available file material.                  0.0% 0% Cooperation with conduct of allocation and requests        0
                                                                                                                                                                                    for related information

                                                                                                                                                                                                                         AP_ABS                0




                                                                                                                                                                                                                                 ARR2362
                   For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 70 of 98 PageID: 7190




                                   Allocator’s Determinations Regarding
                                 Legal Defenses Raised by Allocation Parties

    EVERETT SMITH GROUP
    Everett Smith Group states that Blanchard Bro. & Lane, Inc. was incorporated on June 29, 1937
    and operated at 20 Bruen Street until sometime in 1939. (PAP-00000007; PAS-00032775). The
    property was sold in December 1941. (PAP-00000058). Eighteen years later, in 1959, 100% of
    Blanchard’s stock was purchased by Eagle Ottawa Leather Company (“Eagle Ottawa”). (PAP-
    00432364 thru PAP-00432365). Eagle Ottawa maintained Blanchard as a wholly owned
    subsidiary until February 24, 1965 when it caused Blanchard to be dissolved. (PAP-00432366
    thru PAP-00432367; PAP-00432369). In anticipation of such dissolution, Eagle Ottawa assumed
    on August 31, 1964 all “fixed or contingent” debts, obligations and liabilities of Blanchard
    existing as of that date. (PAP-00432368). There was no merger of the Blanchard and Eagle
    Ottawa Leather Company corporate entities. (PAP-00432364 thru PAP-00432369). There was no
    assumption of Blanchard’s debts, obligations, or liabilities that did not exist on August 31, 1964.
    Eagle Ottawa Leather Company later merged with Albert Trostel & Sons Company. (PAS-
    0003297 thru PAS-0003298). ESG purchased the stock of Albert Trostel & Sons Company.

    Eagle Ottawa’s assumption of Blanchard’s “contingent” debts, obligations, and liabilities in 1964
    did not include CERCLA liabilities that might otherwise have been created in 1981 by CERCLA,
    a full 17 years later. The Court of Appeals for the Third Circuit interpreted the meaning of
    “contingent” liabilities in an analogous case addressing whether CERCLA liability had been
    discharged in a bankruptcy proceeding. Matter of Reading Co., 115 F.3d 1111, 1122 (3d Cir.
    1997) (abrogated on other grounds by E.I. DuPont De Nemours & Co. v. United States, 460 F.3d
    515, 518 (3d Cir.2006)). In that case, Reading Co. emerged from a bankruptcy proceeding in
    1981 with a “consummation order” granting it protection from all pre-consummation debts and
    liabilities. Matter of Reading Co., 115 F.3d at 1114. Sixteen years later, Consolidated Rail
    Corporation (“Conrail”) commenced a contribution action seeking recovery of cleanup costs
    from Reading Co. for pre-consummation releases of hazardous substances. Id. Reading Co.
    argued that the potential CERCLA liability was a pre-consummation claim for which Reading
    Co. was protected by the bankruptcy court’s consummation order. Id. at 1121. Under the
    bankruptcy law, claims included “contingent” debts, liabilities and obligations. Id. at 1121-1123.
    The Third Circuit held that the potential for CERCLA liability had not matured to the level of a
    claim, or even a contingent claim, before CERCLA was enacted in 1980. Id. In an earlier case,
    the Third Circuit had succinctly noted:

    [I]t was not until the passage of CERCLA that a legal relationship was created between the
    petitioners and PCC relevant to the petitioners’ potential causes of action such that an interest
    could flow. Because this legal relationship did not evolve until after the Consummation Date, the
    petitioners did not have contingent claims against PCTC. In re Penn Central Trans. Co., 944 F.2d
    164, 167-168 (3d Cir. 1991). Thus, there was no actual or contingent CERCLA debt, obligation,
    or liability to be assumed by Eagle Ottawa in 1964 when the company was dissolved.

    ALLOCATOR’S DETERMINATION – Though the Everett Smith Group makes an argument
    regarding its lack of successor liability, the Allocator does not believe that Everett has a
    substantial likelihood of success at litigation based on the abrogated bankruptcy case cited as the




                                                                                                                  ARR2363
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 71 of 98 PageID: 7191
Allocation Facility Cmass Calculation
Foundry Street Corporation (Foundry Street Complex)                                                           185 Foundry Street                                 Newark        NJ          07105
  Constituent Of   Overland,    Dmass       PrePVSC    Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)      Fate &    Overland,       C%     PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                   Transport    Fate &                                                                    C%                                    Cmass
                       C%      Transport
     Copper         100.00%        -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
      Lead         100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
     Mercury       100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
      HPAHs        100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
      LPAHs        100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
      PCBs         100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
       DDx         100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
     Dieldrin      100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
  Dioxins_Furans   100.00%         -        100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                         ARR2364
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 72 of 98 PageID: 7192
Allocation Facility COC Base Scores - Protocol Calculation
Foundry Street Corporation (Foundry Street Complex)                                                            185 Foundry Street                            Newark   NJ     07105
  Constituent Of   Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)      Risk      (Tmass)           CMass        Contribution            Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00          0                0                    0
      Lead           0.01     3,200,000.00          0                0                    0
     Mercury         0.95      42,000.00            0                0                    0
      HPAHs          0.05     240,000.00            0                0                    0
      LPAHs          0.01     170,000.00            0                0                    0
      PCBs          12.87      26,000.00            0                0                    0
       DDx           1.37      27,000.00            0                0                    0
     Dieldrin        0.13       390.00              0                0                    0
  Dioxins_Furans    83.92        38.00              0                0                    0




                                                                                                                                                                           ARR2365
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 73 of 98 PageID: 7193
Allocation Facility COC Base Scores - Alternative Calulcation
Foundry Street Corporation (Foundry Street Complex)                                                             185 Foundry Street                                         Newark     NJ     07105
  Constituent Of   Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00       276,960.25           2,097,178.28                   0                   0                    0                 0             0
      Lead           0.01     3,200,000.00       288,577.67           3,197,059.92                   0                   0                    0                 0             0
     Mercury         0.95      42,000.00          4,322.53              41,955.96                    0                   0                    0                 0             0
      HPAHs          0.05     240,000.00        4,346,388.50            195,718.24                   0                   0                    0                 0             0
      LPAHs          0.01     170,000.00        3,012,835.14            139,304.72                   0                   0                    0                 0             0
      PCBs          12.87      26,000.00         20,066.54              25,795.56                    0                   0                    0                 0             0
       DDx           1.37      27,000.00          2,516.93              26,974.36                    0                   0                    0                 0             0
     Dieldrin        0.13       390.00              1.27                  389.99                     0                   0                    0                 0             0
  Dioxins_Furans    83.92        38.00            3,729.82                  0.00                     0                   0                    0                 0             0




                                                                                                                                                                                           ARR2366
                                                           For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                         Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 74 of 98 PageID: 7194
Facility Bypass Information
 Foundry Street Corporation (Foundry Street Complex)       185 Foundry Street                                              Newark                             NJ                07105

Item         Bypass Name          Bypass Type     Time %        Flow %                                                                         Bypass Notes
  1           Newark Bay            Bypass         0.00%         0.00%                                                         Did not discharge waste into the Passaic river




                                                                                                                                                                                        ARR2367
                                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                    Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 75 of 98 PageID: 7195
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
Foundry Street Corporation (Foundry Street Complex)
185 Foundry Street                                  Newark              NJ                  07105
 Facility BS   CUF                  CUF_Category                                                             CUF_NOTES                                                       COF                      COF_NOTES                          Facillty
                                                                                                                                                                                                                                       Adjusted BS
  5.052E-7     0.0%   Historically Compliant or No Evidence No information on violations or sloppy practices was identified in the available file material.              20.0% 20% Failed to participate in conduct of allocation as    6.063E-7
                                                                                                                                                                                   offered by EPA

                                                                                                                                                                                                                        AP_ABS          6.063E-7




                                                                                                                                                                                                                                ARR2368
                                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                    Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 76 of 98 PageID: 7196
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
Foundry Street Corporation (Foundry Street Complex)
185 Foundry Street                                  Newark              NJ                  07105
 Facility BS   CUF                  CUF_Category                                                             CUF_NOTES                                                       COF                      COF_NOTES                          Facillty
                                                                                                                                                                                                                                       Adjusted BS
  6.490E-5     0.0%   Historically Compliant or No Evidence No information on violations or sloppy practices was identified in the available file material.              20.0% 20% Failed to participate in conduct of allocation as    7.788E-5
                                                                                                                                                                                   offered by EPA

                                                                                                                                                                                                                        AP_ABS          7.788E-5




                                                                                                                                                                                                                                ARR2369
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                            Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 77 of 98 PageID: 7197
Allocation Facility Cmass Calculation
Franklin Burlington Plastics Inc.                                                                              113 Passaic Avenue                                 Kearny        NJ          07032
  Constituent Of    Overland,    Dmass       PrePVSC    Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)       Fate &    Overland,       C%     PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                    Transport    Fate &                                                                    C%                                    Cmass
                        C%      Transport
      Copper         100.00%      141.4      100.00%      -           0.00%                 -           100.00%               16.6                 157.98    1.018817E-2       1.61
       Lead         100.00%      564.71      100.00%      -           0.00%                 -           100.00%                2.8                 567.53    1.018817E-2       5.78
      Mercury       100.00%         1.97     100.00%      -           0.00%                 -           100.00%                  -                  1.97     1.018817E-2       0.02
      HPAHs         100.00%       59.79      100.00%      -           0.00%                 -           100.00%              221.4                 281.18    1.018817E-2       2.86
       LPAHs        100.00%      494.35      100.00%      -           0.00%                 -           100.00%              147.6                 641.94    1.018817E-2       6.54
       PCBs         100.00%         0.46     100.00%      -           0.00%                 -           100.00%                  -                  0.46     1.018817E-2        0
        DDx         100.00%          -       100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
      Dieldrin      100.00%          -       100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0
   Dioxins_Furans   100.00%          -       100.00%      -           0.00%                 -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                          ARR2370
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                             Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 78 of 98 PageID: 7198
Allocation Facility COC Base Scores - Protocol Calculation
Franklin Burlington Plastics Inc.                                                                                113 Passaic Avenue                            Kearny   NJ     07032
  Constituent Of    Relative    Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)       Risk       (Tmass)           CMass        Contribution            Score
                    Number
                     (RRN)
      Copper          0.69     2,100,000.00          1.61         7.664E-7             5.288E-7
       Lead           0.01     3,200,000.00          5.78         1.807E-6             1.807E-8
      Mercury         0.95      42,000.00            0.02         4.779E-7             4.540E-7
      HPAHs           0.05      240,000.00           2.86         1.194E-5             5.968E-7
       LPAHs          0.01      170,000.00           6.54         3.847E-5             3.847E-7
       PCBs          12.87      26,000.00             0           1.803E-7             2.320E-6
        DDx           1.37      27,000.00             0                0                    0
      Dieldrin        0.13          390.00            0                0                    0
   Dioxins_Furans    83.92          38.00             0                0                    0




                                                                                                                                                                             ARR2371
                                                                 For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                             Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 79 of 98 PageID: 7199
Allocation Facility COC Base Scores - Alternative Calulcation
Franklin Burlington Plastics Inc.                                                                                 113 Passaic Avenue                                         Kearny     NJ     07032
  Constituent Of    Relative    Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)       Risk       (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                    Number
                     (RRN)
      Copper          0.69     2,100,000.00        276,960.25           2,097,178.28              5.704E-4               1.61              1,196.23             5.704E-4     3.936E-4
       Lead           0.01     3,200,000.00        288,577.67           3,197,059.92              1.967E-3               5.78              6,287.47             1.967E-3     1.967E-5
      Mercury         0.95      42,000.00           4,322.53              41,955.96               4.558E-4               0.02                19.12              4.558E-4     4.330E-4
      HPAHs           0.05      240,000.00        4,346,388.50            195,718.24              6.469E-5               2.86                12.66              6.469E-5     3.235E-6
       LPAHs          0.01      170,000.00        3,012,835.14            139,304.72              2.131E-4               6.54                29.68              2.131E-4     2.131E-6
       PCBs          12.87      26,000.00          20,066.54              25,795.56               2.292E-5                 0                  0.59              2.292E-5     2.950E-4
        DDx           1.37      27,000.00           2,516.93              26,974.36                    0                   0                    0                  0            0
      Dieldrin        0.13          390.00            1.27                  389.99                     0                   0                    0                  0            0
   Dioxins_Furans    83.92          38.00           3,729.82                  0.00                     0                   0                    0                  0            0




                                                                                                                                                                                             ARR2372
                                                            For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                            Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 80 of 98 PageID: 7200
Facility Bypass Information
 Franklin Burlington Plastics Inc.                          113 Passaic Avenue                                              Kearny                             NJ                07032

Item          Bypass Name            Bypass Type   Time %        Flow %                                                                         Bypass Notes
  1            Newark Bay              Bypass       0.00%         0.00%                                                         Did not discharge waste into the Passaic river




                                                                                                                                                                                         ARR2373
                                                            For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
             Case 2:22-cv-07326-MCA-LDW Document 289-12
ADR CONFIDENTIAL COMMUNICATION                     OU2 Facility
                                                                Filed 01/31/24 Page 81 of 98 PageID: 7201
                                                                                                       FINAL 12/28/2020




 Discharge Calcs                                POTW Discharge Information                           COMMENTS/NOTES
                                        23,500 gal discharged per day/week/month                     PARS RIR, 2016 - plant was connect to sewer system since 1946
                                                # hours/per day discharged                           Process Flow diagram: 2500 gpd Sanitary and 21000gpd boilers to PVSC
                                              5 #days/week discharged
                                             52 #weeks/yr discharged
                                           -    calc gal/yr discharge

                                           1976 Yr Ops started
                                           2010 Yr Ops ceased
                                            34 calc #yrs facility operated

 Copper (Cu)
                                             34   #yrs facility discharged                           Sampling data 1990, 2008, 2010 and Permit for O&G
                                        0.0365    calc mg/L COC discharged
                                         3.785    L per gallon (Merck Index)
                                      0.000001    kg per mg (Merck Index)
                                           -      calc kg COC discharged
 Lead (Pb)
                                             34   #yrs facility discharged                           Sampling data 1990, 2008, 2010 and Permit for O&G
                                        0.0304    calc mg/L COC discharged
                                         3.785    L per gallon (Merck Index)
                                      0.000001    kg per mg (Merck Index)
                                           -      calc kg COC discharged
 Mercury (Hg)
                                             34   #yrs facility discharged
                                           -      calc mg/L COC discharged                           NON DETECT
                                         3.785    L per gallon (Merck Index)
                                      0.000001    kg per mg (Merck Index)
                                           -      calc kg COC discharged
 HPAHs
                                             34 #yrs facility discharged                             Permit Limit
                                         10.00 calc mg/L O&G
                                           10% % O&G that is considered PAHs
                                           60% % PAHs considered as HPAHs
                                          0.60 calc mg/L HPAHs
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                           -    calc kg COC discharged
 LPAHs
                                             34 #yrs facility discharged                             Permit Limit
                                         10.00 calc mg/L O&G
                                           10% % O&G that is considered PAHs
                                           40% % PAHs considered as LPAHs
                                          0.40 calc mg/L LPAHs
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                           -    calc kg COC discharged
 PCBs
                                              2 #yrs facility discharged within PCBs Timeline
                                           -    calc mg/L COC discharged
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                       -        calc kg COC discharged
 DDx
                                             -3 #yrs facility discharged within DDx Timeline
                                           -    calc mg/L COC discharged
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                           -    calc kg COC discharged
 Dieldrin
                                             12 #yrs facility discharged within Dieldrin Timeline
                                           -    calc mg/L COC discharged
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                           -    calc kg COC discharged
 Dioxins/Furans
                                             34   #yrs facility discharged
                                           -      calc mg/L COC discharged
                                         3.785    L per gallon (Merck Index)
                                      0.000001    kg per mg (Merck Index)
                                           -      calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                             35 #yrs facility discharged within 2,4-D Timeline
                                           -    calc mg/L COC discharged
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                           -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                             10 #yrs facility discharged within 2,4,5-T Timeline
                                           -    calc mg/L COC discharged
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                           -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                              0 #yrs facility discharged within 2,4,6-TCP Timeline
                                           -    calc mg/L COC discharged
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                           -    calc kg COC discharged



 Summary DMassCOC for POTW:
                                            -     kg Copper
                                            -     kg Lead
                                            -     kg Mercury
                                            -     kg HPAHs
                                            -     kg LPAHs
                                            -     kg PCBs
                                            -     kg DDx
                                            -     kg Dieldrin
                                            -     kg Dioxins/Furans




Franklin Burlington DMass formatted for report                                                                      1                                                       ARR2374   POTW_PVSC
                                                                For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
               Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 82 of 98 PageID: 7202
ADR CONFIDENTIAL COMMUNICATION                                                                                                     OU2 Facility                                              FINAL 12/28/2020




 Discharge Calcs                                       Direct Discharge Information                                   COMMENTS/NOTES
                                                       # hours/day discharged                                         1976-2004 Direct discharge to Passaic River via Permit
                                                                                                                      (NJPDES)
                                                5 # days/week discharged                                              1200 gpd (PAP-00057219)
                                               50 # weeks/yr discharged                                               PAP-CONF-00010094
                                        4,289,500 # gals/yr directly discharged                                       PAP-00057219

                                                 4.08 ft; 30yr average annual precipitation per Rutgers information   Credit for NJPDES Permit oil and grease discharge limit of
                                                                                                                      10 mg/l
                                                  acres
                                           43,560 ft2 per acre
                                                  acres
                                              50% Percent Precip to River

                                                 1976 Yr Ops started
                                                 2004 Yr Ops ceased
                                                  28 calc #yrs facility operated

 Copper (Cu)
                                                28     #yrs facility discharged
                                           0.0365      calc mg/L COC discharged
                                             3.785     L per gallon (Merck Index)
                                         0.000001      kg per mg (Merck Index)
                                             16.58     calc kg COC discharged
 Lead (Pb)
                                                28     #yrs facility discharged
                                           0.0062      calc mg/L COC discharged                                       PAP-00337332
                                             3.785     L per gallon (Merck Index)
                                         0.000001      kg per mg (Merck Index)
                                              2.82     calc kg COC discharged
 Mercury (Hg)
                                                28     #yrs facility discharged
                                               -       calc mg/L COC discharged
                                             3.785     L per gallon (Merck Index)
                                         0.000001      kg per mg (Merck Index)
                                               -       calc kg COC discharged
 HPAHs
                                                28 #yrs facility discharged
                                             10.00 calc mg/L O&G
                                               10% % O&G that is considered PAHs
                                               60% % PAHs considered as HPAHs
                                              0.60 calc mg/L HPAHs
                                             3.785 L per gallon (Merck Index)
                                         0.000001 kg per mg (Merck Index)
                                           272.76 calc kg COC discharged
 LPAHs
                                                28 #yrs facility discharged
                                             10.00 calc mg/L O&G
                                               10% % O&G that is considered PAHs
                                               40% % PAHs considered as LPAHs
                                              0.40 calc mg/L LPAHs
                                             3.785 L per gallon (Merck Index)
                                         0.000001 kg per mg (Merck Index)
                                           181.84 calc kg COC discharged
 PCBs
                                                  2 #yrs facility discharged within PCBs Timeline
                                               -    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                         0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged
 DDx
                                                 -3 #yrs facility discharged within DDx Timeline
                                               -    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                         0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged
 Dieldrin
                                                 12 #yrs facility discharged within Dieldrin Timeline
                                               -    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                         0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged
 Dioxins/Furans
                                                28     #yrs facility discharged
                                               -       calc mg/L COC discharged
                                             3.785     L per gallon (Merck Index)
                                         0.000001      kg per mg (Merck Index)
                                               -       calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                                 29 #yrs facility discharged within 2,4-D Timeline
                                               -    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                         0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                                 10 #yrs facility discharged within 2,4,5-T Timeline
                                               -    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                         0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                                  0 #yrs facility discharged within 2,4,6-TCP Timeline
                                               -    calc mg/L COC discharged
                                             3.785 L per gallon (Merck Index)
                                         0.000001 kg per mg (Merck Index)
                                               -    calc kg COC discharged



 Summary DMassCOC for Direct Discharge:
                                            16.58      kg Copper
                                             2.82      kg Lead
                                              -        kg Mercury
                                           221.39      kg HPAHs
                                           147.59      kg LPAHs
                                              -        kg PCBs
                                              -        kg DDx
                                              -        kg Dieldrin
                                              -        kg Dioxins/Furans




Franklin Burlington DMass formatted for report                                                                                          3                                          ARR2375   Direct_SW_Passaic
                                                                                                           For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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    DISCHARGE CALCULATIONS         DIRECT DISCHARGE INFORMATION                                       ASSUMPTIONS, REFERENCES                                                             COMMENTS/NOTES
                          4.08 FEET/YEAR AVERAGE PRECIPITATION               Long term average annual precipitation includes floods and hurricane events                         Data from Rutgers University.
                                                                             occurring over time.

                                 8.44 ACRES - TOTAL SITE AREA (acres)        FDR, page 1; confirmed with Google Earth

                                    6 ACRES - AFFECTED AREA                  A 55,000-square foot production plant and 840-square foot boiler house were
                                                                             located at the Site. (PAP-00056121) Covering approximatley 1.2 acres of the 8.44
                                                                             acre site.

                            4,046.86 METERS2/ACRE                            CONVERSION TO METERS

                              24,281 METERS2 (AFFECTED AREA)

                              0.0001 METERS/YEAR (ERODED SOIL THICKNESS)     For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                             inches/year.

                                    2 METERS3/YEAR (ERODED SOIL VOLUME)      VOLUME/YEAR DISCHARGED to Passaic.

                                1976 Year site operations began              Franklin Burlington Plastics or its predecessor manufactured plastics at the Site
                                                                             from approximately 1976 to 2010 (PAP-00056120).
                                2017 Year site ownership ceased              On May 22, 2017, Urban Renewal, LLC acquired the site from Franklin-Burlington                      Site manufacturing operations ceased in
                                                                             Plastics (FDR page 4; PAP-00338807).                                                                2010 and all buildings were razed in
                                                                                                                                                                                 April 2014 (PAP-00056121).


                                   41 NUMBER YEARS DISCHARGE

                                 100 METERS3 (TOTAL SOIL VOLUME DISCHARGED
                                     OVER TIME)

                                2,251 KG/M3 SOIL DENSITY                     The fill was comprised of silty sand, course sand, cinders, gravel, brick fragments,
                                                                             rod, wood pieces, glass, ceramics and scrap metal. (PAP-00056120). Bulk density
                                                                             range 2002 KG/M3 to 2499 KG/M3, so use average.
                                                                             (http://structx.com/Soil_Properties_002.html)

                             224,093 KILOGRAMS (TOTAL SOIL DISCHARGED OVER
                                     TIME)

Copper (Cu)
                                  41 YEARS DISCHARGED
                                 631 MG/KG (MAX CONCENTRATION)               Max concentration at maximum shallow sample, RL-3 (1.6-2.1 ft bgs) (PAP-
                                                                             00056226).
                            0.000001 kg per mg (Merck Index)
                                 141 KILOGRAMS DISCHARGED
Lead (Pb)                                                                    Lead compounds were used as a PVC stabilizer in electrical insulators. (PAP-
                                                                             00338386-87).
                                   41 YEARS DISCHARGED
                                2,520 MG/KG MAX CONCENTRATION)               Max concentration at the maximum shallow sample, NJEP-S6 (0.0-0.5 ft bgs) (PAP-
                                                                             00337333)
                            0.000001 kg per mg (Merck Index)
                                 565 KILOGRAMS DISCHARGED




Franklin Burlington FT Mass- Final.xlsx
                                                                                                                                                                                                                           ARR2376
                                                                                                         For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                                                                   Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 84 of 98 PageID: 7204




   DISCHARGE CALCULATIONS                 DIRECT DISCHARGE INFORMATION                                 ASSUMPTIONS, REFERENCES                                                             COMMENTS/NOTES
Mercury (Hg)
                                   41 YEARS DISCHARGED
                                  8.8 MG/KG (MAX CONCENTRATION)             Max concentration of mercury from Table 8; soil from AOC 12 - Fill Area, sample HF-
                                                                            7 collected at 5-5.5 ft bgs (PAP-00056224). Due to density of mercury, it is not
                                                                            expected to remain on the surface.

                           0.000001 kg per mg (Merck Index)
                                  2 KILOGRAMS DISCHARGED
PAHs (listed in Benzo(a)pyrene                                              Total concentration of PAH compounds for Benzo(a)pyrene Equivalent                                                                                                                         Toxic
                                                                                                                                                                                                                                                    Concentration                    Benzo(a)pyrene
Equivalent conversion table)                                                https://floridadep.gov/waste/petroleum-restoration/documents/benzo-pyrene-                                                                       Contaminant                            Equivalency
                                                                                                                                                                                                                                                      (mg/kg)                         Equivalents
                                                                            equivalents-conversion-table-one-sample.                                                                                                                                                  Factor
                                  41 YEARS DISCHARGED                                                                                                                          Max PAH compounds identified in           Benzo(a)pyrene                190.000           1.0            190.0000
                               266.8 MG/KG (TOTAL PAH MAX CONCENTRATION)                                                                                                       various samples listed in Table 1,
                                                                                                                                                                               Historical Soil. For example, see results Benzo(a)anthracene            290.000           0.1            29.0000
                            0.000001 kg per mg (Merck Index)                                                                                                                   for soil sample SB13/A (PAP-00056325- Benzo(b)fluoranthene              270.000           0.1            27.0000
                                  60 KILOGRAMS DISCHARGED                                                                                                                      6).                                       Benzo(k)fluoranthene          97.000           0.01            0.9700
PAHs (others detected)                                                                                                                                                                                                   Chrysene                      240.000          0.001           0.2400
                                   41 YEARS DISCHARGED                      LMW PAH concentrations from soil sample SB13/A collected at 0.5-1 ft January
                                                                            2002 (PAP-00056325-6).                                                                                                                     Dibenz(a,h)anthracene           12.000            1.0            12.0000
                                2,206 MG/KG (TOTAL PAH MAX CONCENTRATION)
                                                                                                                                                                                                                       Indeno(1,2,3-cd)pyrene        76.000              0.1             7.6000
                            0.000001 kg per mg (Merck Index)                                                                                                                                                           DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                 494 KILOGRAMS DISCHARGED                                                                                                                                                                                       Total Benzo(a)pyrene Equivalents =       266.8
PCBs
                                  41 YEARS DISCHARGED
                                2.05 MG/KG (MAX OF REPORTED                 Max concentration based on maximum shallow sample from this site, TS-24 (0.0-0.5
                                     CONCENTRATIONS)                        ft bgs) (PAP-00056220)
                            0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
DDx
                                  41 YEARS DISCHARGED within DDx Timeline
                                     MG/KG (MAX CONCENTRATION)              NONE REPORTED
                            0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
Dieldrin
                                  41 YEARS DISCHARGED                       NONE REPORTED
                                     MG/KG (MAX CONCENTRATION)
                            0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
Dioxins/Furans
                                  41 YEARS DISCHARGED
                                     MG/KG (MAX CONCENTRATION)
                            0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED

SUMMARY CMASS ESTIMATES:
                      141.40 kg Copper
                      564.71 kg Lead
                         1.97 kg Mercury
                        59.79 kg PAHs (Benzo(a)pyrene Equivalent)
                      494.35 kg PAHs (Other)
                         0.46 kg PCBs
                         0.00 kg DDx
                         0.00 kg Dieldrin
                         0.00 kg Dioxins/Furans

                            1,262.69 TOTAL MASS (KG) DISCHARGED FROM
                                     SURFACE SOIL




Franklin Burlington FT Mass- Final.xlsx
                                                                                                                                                                                                                                                                                             ARR2377
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                            Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 85 of 98 PageID: 7205
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
Franklin Burlington Plastics Inc.
113 Passaic Avenue                        Kearny         NJ                  07032
 Facility BS   CUF           CUF_Category                                                     CUF_NOTES                                                       COF                 COF_NOTES                            Facillty
                                                                                                                                                                                                                     Adjusted BS
  4.302E-6     10.0%     Periodic Noncompliacne      According to the 1990 EPA SI, at an unknown date Franklin Plastics received a Notice of Violation -20.0% -20% CPG/SPG member - Continuous provision of           3.872E-6
                                                     for oily spills along the eastern wall of the Production Plant (PAP-00337303). In 1984, there were       funding and participation in PRP Group(s) actions to
                                                     numerous violations that included spillage, discolored soils, oil saturated soils, improperly labeled    cooperate with governmental/regulatory entities to
                                                     drums, unmarked drums, disposal of drums, and other storage of material concerns (PAP-                   address environmental or public harm created by own
                                                     00337237). NJDEP Division of Water Resources, inspected the facility in July 1985 and gave it an         activities
                                                     “unacceptable” rating due to permit limit exceedances of temperature, chromium, and zinc
                                                     concentrations (PAP-00057085-89;). A 1980 EPA Potential Hazardous Waste Site Identification
                                                     and Preliminary Assessment form identified an open dump, landfill, drums, aboveground tanks, a
                                                     railroad, and other hazardous major site activities. Overturned drums potentially contaminating
                                                     the soil were noted onsite, as well as “many” 55-gallon drums that were leaking and
                                                     overflowing. An August 1, 1984 Investigative Report for Franklin Plastics Corporation noted an
                                                     oil-like substance that heavily contaminated the southwestern corner inside of the Production
                                                     Plant. Two spills being cleaned by the workers were noted on the ground during the inspection in
                                                     an area where a liquid plasticizer was discharged from tank trailers into pipes for storage (PAP-
                                                     00338659). During sampling "spill and vegetative stress area near the air pollution control units"
                                                     as noted and another sample was collected where "the soils were covered with a silvery material"

                                                                                                                                                                                                    AP_ABS            3.872E-6




                                                                                                                                                                                                             ARR2378
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                            Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 86 of 98 PageID: 7206
Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
Franklin Burlington Plastics Inc.
113 Passaic Avenue                        Kearny         NJ                  07032
 Facility BS   CUF           CUF_Category                                                     CUF_NOTES                                                       COF                 COF_NOTES                            Facillty
                                                                                                                                                                                                                     Adjusted BS
  1.147E-3     10.0%     Periodic Noncompliacne      According to the 1990 EPA SI, at an unknown date Franklin Plastics received a Notice of Violation -20.0% -20% CPG/SPG member - Continuous provision of           1.032E-3
                                                     for oily spills along the eastern wall of the Production Plant (PAP-00337303). In 1984, there were       funding and participation in PRP Group(s) actions to
                                                     numerous violations that included spillage, discolored soils, oil saturated soils, improperly labeled    cooperate with governmental/regulatory entities to
                                                     drums, unmarked drums, disposal of drums, and other storage of material concerns (PAP-                   address environmental or public harm created by own
                                                     00337237). NJDEP Division of Water Resources, inspected the facility in July 1985 and gave it an         activities
                                                     “unacceptable” rating due to permit limit exceedances of temperature, chromium, and zinc
                                                     concentrations (PAP-00057085-89;). A 1980 EPA Potential Hazardous Waste Site Identification
                                                     and Preliminary Assessment form identified an open dump, landfill, drums, aboveground tanks, a
                                                     railroad, and other hazardous major site activities. Overturned drums potentially contaminating
                                                     the soil were noted onsite, as well as “many” 55-gallon drums that were leaking and
                                                     overflowing. An August 1, 1984 Investigative Report for Franklin Plastics Corporation noted an
                                                     oil-like substance that heavily contaminated the southwestern corner inside of the Production
                                                     Plant. Two spills being cleaned by the workers were noted on the ground during the inspection in
                                                     an area where a liquid plasticizer was discharged from tank trailers into pipes for storage (PAP-
                                                     00338659). During sampling "spill and vegetative stress area near the air pollution control units"
                                                     as noted and another sample was collected where "the soils were covered with a silvery material"

                                                                                                                                                                                                    AP_ABS            1.032E-3




                                                                                                                                                                                                             ARR2379
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 87 of 98 PageID: 7207
Allocation Facility Cmass Calculation
Garfield Molding Company, Inc.                                                                                10 Midland Avenue                                  Wallington NJ             07057
  Constituent Of   Overland,    Dmass       PrePVSC    Dmass        PVSC C%        Dmass PVSC           Direct         Dmass Direct            COC Total     COC A%       COC Historic
  Concern (COC)      Fate &    Overland,       C%     PrePVSC                                         Discharge         Discharge              Pathway                      CMass
                   Transport    Fate &                                                                    C%                                    Cmass
                       C%      Transport
     Copper         100.00%     456.73      100.00%      -           2.32%                 -           100.00%               80.3                 537.06    1.018817E-2       5.47
      Lead         100.00%      130.39      100.00%      -           2.32%                 -           100.00%               67.1                 197.46    1.018817E-2       2.01
     Mercury       100.00%       0.44       100.00%      -           2.32%                 -           100.00%                  -                  0.44     1.018817E-2        0
      HPAHs        100.00%       0.95       100.00%      -           2.32%                 -           100.00%             2,418.6               2,419.56   1.018817E-2      24.65
      LPAHs        100.00%       5.58       100.00%      -           2.32%                 -           100.00%             1,612.4               1,617.99   1.018817E-2      16.48
      PCBs         100.00%         -        100.00%      -           2.32%                 -           100.00%                  -                    0      1.018817E-2        0
       DDx         100.00%         -        100.00%      -           2.32%                 -           100.00%                  -                    0      1.018817E-2        0
     Dieldrin      100.00%         -        100.00%      -           2.32%                 -           100.00%                  -                    0      1.018817E-2        0
  Dioxins_Furans   100.00%         -        100.00%      -           2.32%                 -           100.00%                  -                    0      1.018817E-2        0




                                                                                                                                                                                         ARR2380
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                           Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 88 of 98 PageID: 7208
Allocation Facility COC Base Scores - Protocol Calculation
Garfield Molding Company, Inc.                                                                                 10 Midland Avenue                             Wallington NJ     07057
  Constituent Of   Relative   Total Mass       COC Historic   COC Relative          COC Base
  Concern (COC)      Risk      (Tmass)           CMass        Contribution            Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00         5.47         2.606E-6             1.798E-6
      Lead           0.01     3,200,000.00         2.01         6.287E-7             6.287E-9
     Mercury         0.95      42,000.00            0           1.067E-7             1.014E-7
      HPAHs          0.05     240,000.00          24.65         1.027E-4             5.136E-6
      LPAHs          0.01     170,000.00          16.48         9.697E-5             9.697E-7
      PCBs          12.87      26,000.00            0                0                    0
       DDx           1.37      27,000.00            0                0                    0
     Dieldrin        0.13        390.00             0                0                    0
  Dioxins_Furans    83.92        38.00              0                0                    0




                                                                                                                                                                             ARR2381
                                                               For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Allocation Facility COC Base Scores - Alternative Calulcation
Garfield Molding Company, Inc.                                                                                  10 Midland Avenue                                          Wallington NJ     07057
  Constituent Of   Relative   Total Mass        Total Cmass           Total OS COC               COC %            COC Historic         Facility OS        COC Relative     COC Base
  Concern (COC)      Risk      (Tmass)           (TCmass)                ACmass                                     CMass              COC Cmass          Responsibility     Score
                   Number
                    (RRN)
     Copper          0.69     2,100,000.00       276,960.25           2,097,178.28              1.939E-3               5.47               4,066.7             1.939E-3     1.338E-3
      Lead           0.01     3,200,000.00       288,577.67           3,197,059.92              6.842E-4               2.01              2,187.54             6.842E-4     6.842E-6
     Mercury         0.95      42,000.00          4,322.53              41,955.96               1.018E-4                 0                  4.27              1.018E-4     9.670E-5
      HPAHs          0.05     240,000.00        4,346,388.50            195,718.24              5.567E-4              24.65               108.95              5.567E-4     2.783E-5
      LPAHs          0.01     170,000.00        3,012,835.14            139,304.72              5.370E-4              16.48                74.81              5.370E-4     5.370E-6
      PCBs          12.87      26,000.00         20,066.54              25,795.56                    0                   0                    0                  0            0
       DDx           1.37      27,000.00          2,516.93              26,974.36                    0                   0                    0                  0            0
     Dieldrin        0.13        390.00             1.27                  389.99                     0                   0                    0                  0            0
  Dioxins_Furans    83.92        38.00            3,729.82                  0.00                     0                   0                    0                  0            0




                                                                                                                                                                                           ARR2382
                                                         For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
                                         Case 2:22-cv-07326-MCA-LDW Document 289-12 Filed 01/31/24 Page 90 of 98 PageID: 7210
Facility Bypass Information
 Garfield Molding Company, Inc.                          10 Midland Avenue                                               Wallington                             NJ   07057

Item         Bypass Name          Bypass Type   Time %       Flow %                                                                              Bypass Notes
  1            Yantacaw             Bypass       2.32%       100.00%




                                                                                                                                                                             ARR2383
                                                              For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
             Case 2:22-cv-07326-MCA-LDW Document 289-12
ADR CONFIDENTIAL COMMUNICATION                     OU2 Facility
                                                                Filed 01/31/24 Page 91 of 98 PageID: 7211
                                                                                                       FINAL 12/28/2020




 Discharge Calcs                                   POTW Discharge Information                        COMMENTS/NOTES
                                                   gal discharged per day/week/month                 No information on Discharges or Flows
                                                   # hours/per day discharged                        Connection to PVSC in 1917, but flows to Saddle River
                                                   #days/week discharged
                                                   #weeks/yr discharged
                                            -      calc gal/yr discharge

                                                  Yr Ops started
                                                  Yr Ops ceased
                                                1 calc #yrs facility operated

 Copper (Cu)
                                             1     #yrs facility discharged
                                        0.0365     calc mg/L COC discharged
                                         3.785     L per gallon (Merck Index)
                                      0.000001     kg per mg (Merck Index)
                                           -       calc kg COC discharged
 Lead (Pb)
                                             1     #yrs facility discharged
                                        0.0304     calc mg/L COC discharged
                                         3.785     L per gallon (Merck Index)
                                      0.000001     kg per mg (Merck Index)
                                           -       calc kg COC discharged
 Mercury (Hg)
                                             1     #yrs facility discharged
                                           -       calc mg/L COC discharged
                                         3.785     L per gallon (Merck Index)
                                      0.000001     kg per mg (Merck Index)
                                           -       calc kg COC discharged
 HPAHs
                                             1 #yrs facility discharged
                                           -   calc mg/L O&G
                                           10% % O&G that is considered PAHs
                                           50% % COC in O&G considered as PAHs
                                           -   calc mg/L HPAHs
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                           -   calc kg COC discharged
 LPAHs
                                             1 #yrs facility discharged
                                           -   calc mg/L O&G
                                           10% % O&G that is considered PAHs
                                           50% % COC in O&G considered as PAHs
                                           -   calc mg/L LPAHs
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                           -   calc kg COC discharged
 PCBs
                                          -1928 #yrs facility discharged within PCBs Timeline
                                            -   calc mg/L COC discharged
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                       -        calc kg COC discharged
 DDx
                                          -1939 #yrs facility discharged within DDx Timeline
                                            -   calc mg/L COC discharged
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -   calc kg COC discharged
 Dieldrin
                                          -1949 #yrs facility discharged within Dieldrin Timeline
                                            -   calc mg/L COC discharged
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -   calc kg COC discharged
 Dioxins/Furans
                                             1     #yrs facility discharged
                                           -       calc mg/L COC discharged
                                         3.785     L per gallon (Merck Index)
                                      0.000001     kg per mg (Merck Index)
                                           -       calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                          -1945 #yrs facility discharged within 2,4-D Timeline
                                            -   calc mg/L COC discharged
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -   calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                          -1944 #yrs facility discharged within 2,4,5-T Timeline
                                            -   calc mg/L COC discharged
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -   calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                          -1949 #yrs facility discharged within 2,4,6-TCP Timeline
                                            -   calc mg/L COC discharged
                                         3.785 L per gallon (Merck Index)
                                      0.000001 kg per mg (Merck Index)
                                            -   calc kg COC discharged



 Summary DMassCOC for POTW:
                                            -      kg Copper
                                            -      kg Lead
                                            -      kg Mercury
                                            -      kg HPAHs
                                            -      kg LPAHs
                                            -      kg PCBs
                                            -      kg DDx
                                            -      kg Dieldrin
                                            -      kg Dioxins/Furans




Garfield Molding Company DMass formatted for report                                                                1                                         ARR2384   POTW_PVSC
                                                        For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
             Case 2:22-cv-07326-MCA-LDW Document 289-12
ADR CONFIDENTIAL COMMUNICATION                     OU2 Facility
                                                                Filed 01/31/24 Page 92 of 98 PageID: 7212
                                                                                                       FINAL 12/28/2020




 Discharge Calcs                                      Direct Discharge Information                                    COMMENTS/NOTES
                                                      # hours/day discharged                                          Direct Discharge to Saddle River, through PVSC sewer system?
                                                      # days/week discharged                                          NJPDES Permit NJ0027146 (PAS-00102810)
                                                      # weeks/yr discharged                                           Based on Franklin Burlington
                                            6,000,000 # gals/yr directly discharged
                                                                                                                      Credit for NJPDES Permit for TPH discharge limit of 15 mg/l
                                                 4.08 ft; 30yr average annual precipitation per Rutgers information
                                                      acres
                                               43,560 ft2 per acre

                                                  1917 Yr Ops started
                                                  2014 Yr Ops ceased
                                                   97 calc #yrs facility operated

 Copper (Cu)
                                                   97   #yrs facility discharged                                      From Franklin Burlington
                                               0.0365   calc mg/L COC discharged
                                                3.785   L per gallon (Merck Index)
                                             0.000001   kg per mg (Merck Index)
                                                80.33   calc kg COC discharged
 Lead (Pb)
                                                   97   #yrs facility discharged                                      From Franklin Burlington
                                               0.0304   calc mg/L COC discharged
                                                3.785   L per gallon (Merck Index)
                                             0.000001   kg per mg (Merck Index)
                                                67.07   calc kg COC discharged
 Mercury (Hg)
                                                   97   #yrs facility discharged                                      From Franklin Burlington
                                                  -     calc mg/L COC discharged                                      Non Detect
                                                3.785   L per gallon (Merck Index)
                                             0.000001   kg per mg (Merck Index)
                                                  -     calc kg COC discharged
 HPAHs
                                                   97   #yrs facility discharged                                      From Franklin Burlington
                                               1.5000   calc mg/L COC discharged
                                                3.785   L per gallon (Merck Index)
                                             0.000001   kg per mg (Merck Index)
                                           3,304.3050   calc kg COC discharged
 LPAHs
                                                   97   #yrs facility discharged                                      From Franklin Burlington
                                               1.0000   calc mg/L COC discharged
                                                3.785   L per gallon (Merck Index)
                                             0.000001   kg per mg (Merck Index)
                                           2,202.8700   calc kg COC discharged
 PCBs
                                                    49 #yrs facility discharged within PCBs Timeline
                                                       calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged
 DDx
                                                    33 #yrs facility discharged within DDx Timeline
                                                       calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged
 Dieldrin
                                                    38 #yrs facility discharged within Dieldrin Timeline
                                                       calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged
 Dioxins/Furans
                                                   97 #yrs facility discharged
                                                      calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                  -   calc kg COC discharged
 Dioxin/Furan Precursor - 2,4-D
                                                    69 #yrs facility discharged within 2,4-D Timeline
                                                       calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,5-T
                                                    41 #yrs facility discharged within 2,4,5-T Timeline
                                                       calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged
 Dioxin/Furan Precursor - 2,4,6-TCP
                                                    26 #yrs facility discharged within 2,4,6-TCP Timeline
                                                       calc mg/L COC discharged
                                                3.785 L per gallon (Merck Index)
                                             0.000001 kg per mg (Merck Index)
                                                  -    calc kg COC discharged



 Summary DMassCOC for Direct Discharge:
                                                80.33   kg Copper
                                                67.07   kg Lead
                                                  -     kg Mercury
                                             2,418.62   kg HPAHs
                                             1,612.41   kg LPAHs
                                                  -     kg PCBs
                                                  -     kg DDx
                                                  -     kg Dieldrin
                                                  -     kg Dioxins/Furans




Garfield Molding Company DMass formatted for report                                                                   3                                                              ARR2385   Direct_SW_Other3
                                                                                                                                                                    For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Discharge Calcs                       Direct Discharge Information                        ASSUMPTIONS, REFERENCES                                                                 COMMENTS/NOTES
                                 4.08 FEET/YEAR AVERAGE PRECIPITATION                     Long term average annual precipitation includes floods and hurricane events             Data from Rutgers University.
                                                                                          occurring over time.

                                3.43 ACRES - TOTAL SITE AREA (acres)                      FDR and PAS-00102867, PAS-00123366
                                 2.0 ACRES - AFFECTED AREA                                Estimation based on Google Earth
                            4,046.86 METERS2/ACRE

                                8,094 METERS2 (AFFECTED AREA)

                              0.0001 METERS/YEAR (ERODED SOIL THICKNESS)                  For this estimate, used a surface soil erosion rate of 0.1 mm/year, or 0.004
                                                                                          inches/year.



                                       1 METERS3/YEAR (ERODED SOIL VOLUME)                VOLUME/YEAR DISCHARGED

                                1917 Year site operations began                           PAS-00123364
                                2014 Year site processing and storage operations ceased   PAS-00123364

                                   97 NUMBER YEARS DISCHARGE

                                   79 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)


                                2,251 KG/M3 SOIL DENSITY                                  Fill underlain by fine to coarse well sorted sands/coarse gravely sands/fine sands
                                                                                          and silt (PAS-00102913). Bulk density range 2002 KG/M 3 to 2499 KG/M3, so use
                                                                                          average. (http://structx.com/Soil_Properties_002.html)



                             176,685 KILOGRAMS (TOTAL SOIL DISCHARGED OVER TIME)
                                                                                          Site is partially located on historic fill (FDR, pg. 9)
Copper (Cu)
                                  97 YEARS DISCHARGED
                                2585 MG/KG (MAX CONCENTRATION)                            Maximum concentration in soil at VE-1 (24-30") (PAS-00102887 and PAS-
                                                                                          00102889)




                            0.000001 kg per mg (Merck Index)
                                 457 KILOGRAMS DISCHARGED
Lead (Pb)
                                   97 YEARS DISCHARGED
                                  738 MG/KG (AVERAGE CONCENTRATION)                       Max concentration in soil at VE-3 (24-30") (PAS-00102889)

                            0.000001 kg per mg (Merck Index)
                                 130 KILOGRAMS DISCHARGED
Mercury (Hg)
                                   97 YEARS DISCHARGED
                                  2.5 MG/KG (MAX CONCENTRATION)                           Max concentration in soil at VE-3 (24-30") (PAS-00102889)

                            0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
PAHs (listed in Benzo(a)pyrene                                                            Total concentration of PAH compounds for Benzo(a)pyrene Equivalent                                                                                                                           Toxic
Equivalent conversion table)                                                              https://floridadep.gov/waste/petroleum-restoration/documents/benzo-pyrene-                                                                                               Concentration    Equivalency     Benzo(a)pyrene
                                                                                          equivalents-conversion-table-one-sample.                                                                                            Contaminant                            (mg/kg)          Factor         Equivalents
                                   97 YEARS DISCHARGED                                                                                                                                                                        Benzo(a)pyrene                           3.800            1.0             3.8000
                                  4.6 MG/KG (TOTAL PAH AVERAGE CONCENTRATION)             Sum of Benzo(a)pyrene Equivalent conversion concentrations using maximum
                                                                                          concentrations (FDR Tables, page 10; PAS-00102888-892)                                                                              Benzo(a)anthracene                       2.800             0.1            0.2800
                            0.000001 kg per mg (Merck Index)                                                                                                                                                                  Benzo(b)fluoranthene                     5.400             0.1            0.5400
                                   1 KILOGRAMS DISCHARGED                                                                                                                                                                     Benzo(k)fluoranthene                     2.100            0.01            0.0210
PAHs (others detected)                                                                                                                                                                                                        Chrysene                                 3.400           0.001            0.0034
                                   97 YEARS DISCHARGED                                                                                                                                                                        Dibenz(a,h)anthracene                    0.000             1.0            0.0000
                                30.30 MG/KG (TOTAL PAH MAX CONCENTRATION)                 Other PAHs = Benzo (a) pyrene, Phenanthrene, Flouranthene, Pyrene (FDR Tables;
                                                                                          PAS-0010288-892)                                                                                                                    Indeno(1,2,3-cd)pyrene              0.000             0.1                 0.0000
                            0.000001 kg per mg (Merck Index)                                                                                                                                                                  DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                   5 KILOGRAMS DISCHARGED                                                                                                                                                                                                      Total Benzo(a)pyrene Equivalents =        4.6
PCBs

                                   84 YEARS DISCHARGED                                    PCB sample result at T-W-5 (PAS-00102882); years reflect a 1930 start date for
                                                                                          PCBs.
                                       0 MG/KG (MAX OF REPORTED CONCENTRATIONS)           PCB concentration relected as 0 mg/kg because the only detection was from a
                                                                                          sample taken at 9 ft bgs below a UST, which is too far below ground surface for this
                                                                                          calculation. (FDR p 15, PAS-00102882)
                            0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED




Garfield Molding FT Mass- Final.xlsx


                                                                                                                                                                                                                                                                                                                     ARR2386
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DDx
                                      YEARS DISCHARGED within DDx Timeline        None
                                      MG/KG (MAX CONCENTRATION)
                                3.785 L per gallon (Merck Index)
                            0.000001 kg per mg (Merck Index)
                                    0 KILOGRAMS DISCHARGED
Dieldrin
                                    0 YEARS DISCHARGED within Dieldrin Timeline   None
                                      MG/KG (MAX CONCENTRATION)
                                3.785 L per gallon (Merck Index)
                            0.000001 kg per mg (Merck Index)
                                    0 KILOGRAMS DISCHARGED
Dioxins/Furans
                                     YEARS DISCHARGED                             None
                                     MG/KG (MAX CONCENTRATION)
                            0.000001 kg per mg (Merck Index)
                                   0 calc kg COC discharged

SUMMARY CMASS ESTIMATES:
                       456.73 kg Copper
                       130.39 kg Lead
                         0.44 kg Mercury
                         0.82 kg PAHs (Benzo(a)pyrene Equivalent)
                         5.35 kg PAHs (Other)
                         0.00 kg PCBs
                         0.00 kg DDx
                         0.00 kg Dieldrin
                         0.00 kg Dioxins/Furans

                              593.74 MASS (KG) DISCHARGED FROM SURFACE SOIL




Garfield Molding FT Mass- Final.xlsx


                                                                                                                                                                                                       ARR2387
                                                                                                                                                                    For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Discharge Calcs                       Direct Discharge Information                          NOTES, COMMENTS, REFERENCES
                                 4.08 FEET/YEAR AVERAGE PRECIPITATION per Rutgers Univ.     Long term average annual precipitation includes floods and hurricane events           Data from Rutgers University.
                                                                                            occurring over time.

                                    0 ACRES - TOTAL SITE AREA (acres)                       Eight catch basins sampled for sediment (PAS-001028894-95)
                                 0.00 ACRES - AFFECTED AREA                                 Assume catch basin size as 4' x 5'
                                 0.00 METERS2/ACRE                                          Assume 3 inches deep sediment

                                   15 METERS2 (AFFECTED AREA)                               Each catch basin = 20 ft2 = 1.858 m2
                                                                                            1.858 m2 x 8 = 14.86 m2
                              0.0010 METERS/YEAR (ERODED SOIL THICKNESS)                    changed erosion rate to 0.1 mm/yr.

                                0.015 METERS3/YEAR (ERODED SOIL VOLUME)

                                1917 Year site operations began                             PAS-00123364
                                2014 Year site processing and storage operations ceased     PAS-00123364

                                   97 NUMBER YEARS DISCHARGE

                                       1 METERS3 (TOTAL SOIL VOLUME DISCHARGED OVER TIME)


                                1,746 KG/M3 SOIL DENSITY                                    Assume organic silts. Bulk density range 1394 KG/M3 to 2098 KG/M3, so use
                                                                                            average. (http://structx.com/Soil_Properties_002.html)

                                2,517 KILOGRAMS (TOTAL WT OF SOIL AFFECTED OVER TIME)


Copper (Cu)
                                       0 YEARS DISCHARGED
                                         MG/KG (MAX CONCENTRATION)


                            0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
Lead (Pb)
                                   0 YEARS DISCHARGED
                                     MG/KG (MAX CONCENTRATION)
                            0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
Mercury (Hg)
                                   0 YEARS DISCHARGED
                                     MG/KG (MAX CONCENTRATION)
                            0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
PAHs (listed in Benzo(a)pyrene                                                              Total concentration of PAH compounds for Benzo(a)pyrene Equivalent                                                                                                                        Toxic
                                                                                                                                                                                                                                                                   Concentration                 Benzo(a)pyrene
Equivalent conversion table)                                                                https://floridadep.gov/waste/petroleum-restoration/documents/benzo-pyrene-                                                                 Contaminant                                 Equivalency
                                                                                                                                                                                                                                                                     (mg/kg)                      Equivalents
                                                                                            equivalents-conversion-table-one-sample.                                                                                                                                                 Factor
                                  97 YEARS DISCHARGED                                                                                                                                                                          Benzo(a)pyrene                         27.000           1.0          27.0000
                              49.896 MG/KG (TOTAL PAH MAX CONCENTRATION)                    Sum of Benzo(a)pyrene Equivalent conversion concentrations using maximum
                                                                                            concentrations (FDR Table page 17; PAS-001028894-95)                                                                               Benzo(a)anthracene                     19.000           0.1           1.9000
                            0.000001 kg per mg (Merck Index)                                                                                                                                                                   Benzo(b)fluoranthene                   34.000           0.1           3.4000
                                0.126 KILOGRAMS DISCHARGED                                                                                                                                                                     Benzo(k)fluoranthene                   12.000          0.01           0.1200
PAHs (others detected)                                                                      Other PAHs = Dibenzfuran, Napthalene, Acenaphthalene, Flourene, Phenanthrene,
                                                                                            Anthracene, Flouranthene, Pyrene (FDR Table page 17)                                                                               Chrysene                        26.000            0.001               0.0260
                                   97 YEARS DISCHARGED                                                                                                                                                                         Dibenz(a,h)anthracene           17.000             1.0               17.0000
                                 92.3 MG/KG (TOTAL PAH MAX CONCENTRATION)                                                                                                                                                      Indeno(1,2,3-cd)pyrene           4.500             0.1                0.4500
                            0.000001 kg per mg (Merck Index)                                                                                                                                                                   DE Residential = 0.1 mg/kg; DE Industrial = 0.7 mg/kg
                                0.232 KILOGRAMS DISCHARGED                                                                                                                                                                                                 Total Benzo(a)pyrene Equivalents =         49.9
PCBs
                                   0 YEARS DISCHARGED within PCBs Timeline
                                     MG/KG (MAX OF REPORTED CONCENTRATIONS)
                            0.000001 kg per mg (Merck Index)
                                   0 KILOGRAMS DISCHARGED
DDx
                                    0 YEARS DISCHARGED within DDx Timeline
                                      MG/KG (CONCENTRATION)
                                3.785 L per gallon (Merck Index)
                            0.000001 kg per mg (Merck Index)
                                    0 KILOGRAMS DISCHARGED




Garfield Molding FT Mass- Final.xlsx


                                                                                                                                                                                                                                                                                                                  ARR2388
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Dieldrin
                                    0 YEARS DISCHARGED within Dieldrin Timeline
                                      MG/KG (CONCENTRATION)
                                3.785 L per gallon (Merck Index)
                            0.000001 kg per mg (Merck Index)
                                    0 KILOGRAMS DISCHARGED
Dioxins/Furans
                                   0 YEARS DISCHARGED
                                     MG/KG (CONCENTRATION)
                            0.000001 kg per mg (Merck Index)
                                     calc kg COC discharged


SUMMARY CMASS ESTIMATES:
                                 0.00 kg Copper
                                 0.00 kg Lead
                                 0.00 kg Mercury
                                 0.13 kg PAHs (Benzo(a)pyrene Equivalent)
                                 0.23 kg PAHs (Other)
                                 0.00 kg PCBs
                                 0.00 kg DDx
                                 0.00 kg Dieldrin
                                 0.00 kg Dioxins/Furans


                                 0.36 MASS (KG) DISCHARGED BY OVERLAND FLOW




Garfield Molding FT Mass- Final.xlsx


                                                                                                                                                                                                ARR2389
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Protocol Calculation
Garfield Molding Company, Inc.
10 Midland Avenue                       Wallington NJ                      07057
 Facility BS   CUF         CUF_Category                                                     CUF_NOTES                                                       COF                 COF_NOTES                            Facillty
                                                                                                                                                                                                                   Adjusted BS
  8.011E-6     5.0%   Occasional Noncompliance     On July 2, 1974, PVSC wrote to Garfield confirming that their boiler blowdown was polluting (PAS- -20.0% -20% CPG/SPG member - Continuous provision of           6.809E-6
                                                   00102945). This violation was eliminated August 1974 (PAS-00102945). Several unpermitted                 funding and participation in PRP Group(s) actions to
                                                   discharges and other violations of the NJPDES-discharge permit were noted to have occurred               cooperate with governmental/regulatory entities to
                                                   during the historical operations, as well as deficiences of the facility (e.g., spreading waste oil on   address environmental or public harm created by own
                                                   the unpaved driveways to control dust) (PAS-00102947-9). There were several drum storage                 activities
                                                   areas noted. The floor of Building 16 was heavily stained and a portion of the roof was missing.

                                                                                                                                                                                                  AP_ABS            6.809E-6




                                                                                                                                                                                                           ARR2390
                                                             For Public Disclosure by Consent of the Participating Allocation Parties and EPA (Fall 2022)
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Facility Base Scores, Culpability Factor, Cooperation Factor and Adjusted Base Scores - Allocation Calculation
Garfield Molding Company, Inc.
10 Midland Avenue                       Wallington NJ                      07057
 Facility BS   CUF         CUF_Category                                                     CUF_NOTES                                                       COF                 COF_NOTES                            Facillty
                                                                                                                                                                                                                   Adjusted BS
  1.475E-3     5.0%   Occasional Noncompliance     On July 2, 1974, PVSC wrote to Garfield confirming that their boiler blowdown was polluting (PAS- -20.0% -20% CPG/SPG member - Continuous provision of           1.254E-3
                                                   00102945). This violation was eliminated August 1974 (PAS-00102945). Several unpermitted                 funding and participation in PRP Group(s) actions to
                                                   discharges and other violations of the NJPDES-discharge permit were noted to have occurred               cooperate with governmental/regulatory entities to
                                                   during the historical operations, as well as deficiences of the facility (e.g., spreading waste oil on   address environmental or public harm created by own
                                                   the unpaved driveways to control dust) (PAS-00102947-9). There were several drum storage                 activities
                                                   areas noted. The floor of Building 16 was heavily stained and a portion of the roof was missing.

                                                                                                                                                                                                  AP_ABS            1.254E-3




                                                                                                                                                                                                           ARR2391
